Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 1 of 163            FILED
                                                                      2024 Oct-14 PM 02:04
                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA




                 Exhibit A
   Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 2 of 163

                                                       EXECUTION VERSION



                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION


IN RE:                              Master File No. 2:13-CV-20000-RDP
BLUE CROSS BLUE SHIELD
ANTITRUST LITIGATION                This Document Relates to
(MDL NO. 2406)                      Provider Track Cases




                       SETTLEMENT AGREEMENT
        Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 3 of 163




                                                      TABLE OF CONTENTS

PREAMBLE .................................................................................................................................. 1
   A.      DEFINITIONS .................................................................................................................. 3
      1.      Definitions....................................................................................................................... 3
   B.      APPROVAL OF SETTLEMENT AGREEMENT AND DISMISSAL OF CLAIMS ..
           ........................................................................................................................................... 23
      2.      Reasonable Best Efforts ................................................................................................ 23
      3.      Preliminary Approval Motion ....................................................................................... 23
      4.      Preliminary Approval and Preliminary Fairness Hearing ............................................. 24
      5.      Notice Motion ............................................................................................................... 24
      6.      Final Approval Motion ................................................................................................. 25
      7.      Review of Filings and Other Settlement-Related Documents ...................................... 26
      8.      Finality of Agreement ................................................................................................... 26
      9.      No Admission of Wrongdoing or Liability by Settling Defendants ............................. 28
   C.      CLASS INJUNCTIVE RELIEF .................................................................................... 30
      10. Service Areas/BlueCard Program ................................................................................. 30
      11. Expansion of Contiguous Area Provider Contracting .................................................. 30
      12. Member Access ............................................................................................................. 31
      13. Prompt Pay Commitment to Participating Providers for Clean BlueCard Claims ....... 31
      14. BlueCard Transformation ............................................................................................. 35
      15. Real-Time Messaging System ...................................................................................... 38
      16. BlueCard Executive ...................................................................................................... 38
      17. National Executive Resolution Group .......................................................................... 40
      18. Third-Party Information ................................................................................................ 41
      19. Service Level Agreements ............................................................................................ 42
      20. Minimum Data Requirements ....................................................................................... 44
      21. Blue Plan Common Appeals Form ............................................................................... 45
      22. Minimum Level of Value-Based Care .......................................................................... 45
      23. Best Practices for Value-Based Care ............................................................................ 46
      24. Telehealth Relief ........................................................................................................... 49
      25. Pre-Authorization Standards ......................................................................................... 49
      26. Affiliates and All Products Clauses .............................................................................. 50



                                                                           i
      Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 4 of 163




     27. Implementation of Class Injunctive Relief ................................................................... 50
     28. Duration of Class Injunctive Relief .............................................................................. 51
     29. Monitoring, Compliance and Reporting ....................................................................... 51
     30. Monitoring Fees and Expenses ..................................................................................... 52
D.       SETTLEMENT AMOUNT ............................................................................................ 52
     31. Settlement Amount ....................................................................................................... 52
     32. Payment Timing ............................................................................................................ 53
     33. Failure to Fund .............................................................................................................. 53
     34. Tax Benefits and Consequences ................................................................................... 54
     35. Escrow Account ............................................................................................................ 55
     36. Distribution of Net Settlement Fund to Authorized Claimants .................................... 58
     37. Attorneys’ Fees and Expenses and Service Awards ..................................................... 59
     38. Distributions of the Settlement Fund ............................................................................ 61
     39. Balance Remaining in Settlement Fund........................................................................ 62
     40. Amounts Paid Not a Penalty ......................................................................................... 63
     41. No Replenishment ......................................................................................................... 63
E.       RELEASE, DISCHARGE, AND COVENANT NOT TO SUE .................................. 63
     42. Released Claims and Covenant Not to Sue................................................................... 63
     43. California Civil Code .................................................................................................... 64
     44. All Claims Satisfied by Settlement Fund ...................................................................... 65
     45. Enforcement of Release ................................................................................................ 65
F.       ADMINISTRATION OF SETTLEMENT ................................................................... 65
     46. Claims and Release ....................................................................................................... 65
     47. Settlement Notice Administrator and Settlement Claims Administrator...................... 66
     48. Written Exclusion for Opt-Outs from the Settlement Class ......................................... 66
     49. Failure to Properly Exclude .......................................................................................... 67
     50. Identification of Opt-Outs ............................................................................................. 67
     51. Settling Defendants’ Right to Rescind.......................................................................... 67
G.       STAY OF PROCEEDINGS ........................................................................................... 67
     52. Stay ............................................................................................................................... 67




                                                                      ii
         Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 5 of 163




   H. RESCISSION IF AGREEMENT IS NOT APPROVED OR FINAL JUDGMENT
   NOT ENTERED ...................................................................................................................... 68
        53. Rescission ..................................................................................................................... 68
        54. Return of the Settlement Funds..................................................................................... 68
        55. Resumption of Litigation .............................................................................................. 69
   I.       MISCELLANEOUS ....................................................................................................... 69
        56. Confidentiality; Third-Party Communications ............................................................. 69
        57. Communications with Class Members ......................................................................... 71
        58. Representation............................................................................................................... 71
        59. Binding Effect ............................................................................................................... 71
        60. Notice ............................................................................................................................ 71
        61. Integrated and Final Agreement.................................................................................... 76
        62. CAFA ............................................................................................................................ 76
        63. Future Rules .................................................................................................................. 76
        64. Headers ......................................................................................................................... 76
        65. No Party Is the Drafter .................................................................................................. 76
        66. Choice of Law ............................................................................................................... 77
        67. Consent to Jurisdiction.................................................................................................. 77
        68. Non-Disparagement ...................................................................................................... 77
        69. Voluntary Settlement and Agreement; Advice of Counsel........................................... 78
        70. Authorization to Enter Agreement ................................................................................ 78
        71. Non-Assignment ........................................................................................................... 78
        72. Inconsistency with the Settlement Agreement .............................................................. 79
        73. Privilege ........................................................................................................................ 79
        74. Savings Clause .............................................................................................................. 79
        75. Execution in Counterparts............................................................................................. 79
Appendix A ................................................................................................................................ A-1
Appendix B ................................................................................................................................ B-1
Appendix C ................................................................................................................................ C-1
Appendix D ................................................................................................................................ D-1




                                                                        iii
         Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 6 of 163




                                                    PREAMBLE

           This Settlement Agreement 1 is made and entered into as of October 4, 2024, by and among

Settling Defendants and Provider Class Representatives, for themselves and on behalf of each

Settlement Class Member.

           WHEREAS, Provider Class Representatives are prosecuting the Provider Actions

(including other individual and/or consolidated lawsuits);

           WHEREAS, Provider Class Representatives allege, inter alia, that Settling Defendants

violated Sections 1 and 2 of the Sherman Antitrust Act, 15 U.S.C. §§ 1–2, in addition to state

law(s), by illegally entering into a geographic market allocation agreement prohibiting competition

in the market for the sale of commercial healthcare financing services and the market for the

purchase of goods and services from healthcare providers, as well as agreeing to other means of

restricting competition in these markets;

           WHEREAS, Provider Class Representatives have contended that they and the Settlement

Class are entitled to actual damages, treble damages, and injunctive relief for loss or damage, and

threatened loss or damage, as a result of violations of the laws as alleged in the Provider Actions,

arising from Settling Defendants’ alleged conduct;

           WHEREAS, Settling Defendants deny any and all purported wrongdoing in connection

with the facts and claims that have been or could have been alleged against them in the Provider

Actions, and have asserted a number of defenses to Provider Class Representatives’ claims;

           WHEREAS, this action has involved substantial discovery, including obtaining and

analyzing over 75 million pages of documents, and participating in over 200 depositions, and the




1
    All capitalized terms shall have the meaning set forth in Paragraph 1 or elsewhere in this Agreement.
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 7 of 163




investigation and analysis of the facts and underlying events relating to the subject matter of

Provider Class Representatives’ claims and applicable legal principles;

       WHEREAS, Provider Class Representatives through Settlement Class Counsel have

conducted an investigation into the facts and the law and have concluded that resolving the claims

against Settling Defendants, according to the terms set forth below, is in the best interests of the

Settlement Class in order to avoid the substantial uncertainties of litigation and ensure that the

benefits reflected herein are obtained for the Settlement Class;

       WHEREAS, Settlement Class Counsel consider the settlement herein to be fair, reasonable,

and adequate, and in the best interests of the Settlement Class because of the substantial

uncertainties of litigation, payment of the Settlement Amount, and the value of the Injunctive

Relief that Settling Defendants have agreed to provide pursuant to this Agreement;

       WHEREAS, Settling Defendants, despite their beliefs that the claims asserted lack merit

and that they have valid defenses to such claims, have nevertheless agreed to enter into this

Agreement to avoid further expense, inconvenience, and distraction to their businesses of

burdensome and protracted litigation, and to obtain the releases, orders, and judgment

contemplated by this Agreement, and to put to rest with finality this controversy, including releases

of all claims that have been or could be asserted against Settling Defendants based on the

allegations in the Provider Actions;

       WHEREAS, vigorous, arm’s-length settlement negotiations have taken place between

certain Settlement Class Counsel, including Court-appointed Settlement Committee members, and

counsel for Settling Defendants and with the assistance of several experienced mediators at

different times, and this Agreement embodies all the terms and conditions of the settlement




                                                 2
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 8 of 163




between Settling Defendants and Provider Class Representatives, both individually and on behalf

of each Settlement Class Member;

       WHEREAS, Settling Defendants, Settling Defendants’ counsel, Settlement Class Counsel,

and Provider Class Representatives have had a full opportunity to examine the facts and

circumstances surrounding their respective decisions to accept the terms of this Agreement and

have not relied on any representations (or lack thereof) made by any other Party concerning the

facts and circumstances leading to this Agreement;

       NOW, THEREFORE, in consideration of the covenants, agreements, and releases set forth

herein and for other good and valuable consideration, the adequacy of which is hereby

acknowledged, it is agreed by and among the undersigned that the Provider Actions be settled,

compromised, and dismissed on the merits with prejudice as to the Releasees and except as

hereinafter provided, without costs to Provider Class Representatives, the Settlement Class, or

Settling Defendants, subject to approval of the Court and any appellate review, on the following

terms and conditions:

A.     DEFINITIONS

       1.         Definitions. As used in this Agreement, the following capitalized terms have the

meanings specified below, regardless of whether they are used in this Agreement in their singular

or plural form.

                  a.     “Administrative Services Only” or “ASO” means a Commercial Health

       Benefit Product that is self-funded, including administrative services contracts or accounts,

       and jointly administered administrative services contracts or accounts.

                  b.     “Agreement” means this Settlement Agreement and the In Camera

       Supplement together.




                                                  3
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 9 of 163




        c.      “Anchor Hospital” means a Hospital located in a Contiguous County that is

 a Settlement Class Member. Opt-Outs are not Anchor Hospitals. Provider types other than

 Hospitals, as well as Hospitals not located in a Contiguous County, are likewise not Anchor

 Hospitals.

        d.      “Authorized Claimant” means any Settlement Class Member who is entitled

 to a distribution from the Settlement Fund pursuant to the Plan of Distribution approved

 by the Court in accordance with the terms of this Agreement. Under no circumstances will

 a Settling Defendant be considered an Authorized Claimant that is entitled to distribution

 from the Settlement Fund.

        e.      “Bank” means Huntington National Bank.

        f.      “BCBSA” means the Blue Cross Blue Shield Association.

        g.      “Blue-Branded” means a product or service marketed, offered, sold or

 contracted for under any of the Blue Marks.

        h.      “Blue Marks” means the Blue Cross and/or Blue Shield service marks,

 trademarks, names, and/or symbols.

        i.      “Blue Plan Common Appeals Form” means the specific Provider appeals

 form developed by BCBSA, in accordance with Paragraph 21.

        j.      “Blue System” means BCBSA, all Settling Individual Blue Plans, and the

 system of governance among those entities, as reflected through the License Agreements

 issued by BCBSA and BCBSA policies, rules and procedures.

        k.      “BlueCard Claim” means any claim for Member services that is processed

 through the BlueCard Program.




                                          4
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 10 of 163




         l.      “BlueCard Executive” means the senior-level individual(s) accountable for

 issues regarding BlueCard Claims payments issues, as set forth in Paragraph 16.

         m.      “BlueCard Program” means the program that enables Blue Plan Members

 obtaining healthcare services while traveling or living in another Blue Plan’s Service Area

 to receive the benefits of their membership with the Control/Home Blue Plan and to access

 the Local/Host Blue Plan’s designated provider networks and savings, as defined and set

 forth in the Inter-Plan Programs Policies and Provisions (“IPP”), as of the Execution Date.

         n.      “Class Distribution Order” means the Court order approving the distribution

 of the Net Settlement Fund, as described in Paragraph 36.

         o.      “Class Member” means any person or entity within the definition of the

 Settlement Class.

         p.      “Class Notice” or “Notice” means the notice to the Class Members

 approved by the Court. “Class Notice Approval Order” means the Court order approving

 Class Notice.

         q.      “Clean BlueCard Claim” means a BlueCard Claim for Covered Services

 that:

                 i.     is timely received by the Local/Host Blue Plan;

                 ii.    has a corresponding referral if required for the applicable claim;

                 iii.   (a) when submitted via paper has all the elements of the CMS-1500

                 or UB-04 (or successor standard) forms as applicable or (b) when submitted

                 via an electronic transaction, uses only permitted standard code sets

                 (e.g., CPT, ICD-10-CM and HCPCS) and has all the elements of the




                                          5
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 11 of 163




                standard electronic formats, as required by applicable federal authority and

                state regulatory authority;

                iv.    contains no defect or error that would affect the adjudication of the

                claim; and

                v.     includes supporting documentation sufficient for the Blue Plans to

                make coverage and payment determinations.

        r.      “Commercial Health Benefit Product” means any product or plan providing

 for the payment or administration of healthcare services (including but not limited to

 medical, pharmacy, dental, and vision products and services) or expenses through

 insurance, reimbursement, or other similar healthcare financing mechanism, for Members

 in the U.S. (however funded, including insured or self-funded) other than a product or plan

 purchased or offered by a Government Entity, including but not limited to those offered

 under the Children with Special Health Care Needs Program (CSHCN); Children’s Health

 Insurance Program (CHIP); Civilian Health and Medical Program of the Department of

 Veteran’s Affairs (CHAMPVA); Civilian Health and Medical Program of the Uniformed

 Services (CHAMPUS); Indian Health Service, Tribal, and Urban Indian Health Plan;

 Medicaid; Medicare; Medicare Advantage (including but not limited to Medicare

 Advantage Prescription Drug Plans and Special Needs Plans, including but not limited to

 Medicare-Medicaid or Dual-Eligible Plans); Medicare Stand-Alone Prescription Drug

 Plans; Refugee Medical Assistance Program; State Maternal and Child Health Program

 (MCH); or TriCare.

        s.      “Confidential” means information or material that (i) any Party designates

 or has designated as “Confidential,” “Confidential—Attorneys’ Eyes Only,” or




                                          6
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 12 of 163




 “Confidential—Outside Counsel Only” in the Provider Actions or in connection with this

 Agreement, including without limitation under the Qualified Protective Order (Dkt. 550)

 or the Supplement and Amended Supplement to the Qualified Protective Order

 (Dkts. 1488, 3171), or (ii) this Agreement identifies as “Confidential.”      Confidential

 information or material shall not be disclosed beyond what is allowed by the terms of this

 Agreement, Court order, or through mutual agreement of the Parties.

        t.      “Contiguous Area” shall have the meaning set forth in Exhibit 4,

 Paragraph 2.7 of the License Agreement, as of the Execution Date.

        u.      “Contiguous Area Contract” or “Contiguous Area Contracting” means any

 permissible contract or contracting under the Blue Marks between a Blue Plan and a

 Provider in a Contiguous Area, as allowed by the Contiguous Area Rule.

        v.      “Contiguous Area Rule” means the rule governing contracting with

 Providers in Contiguous Areas as set forth in Exhibit 4, Paragraph 2.3(a) of the License

 Agreement, as of the Execution Date.

        w.      “Contiguous County” means any county adjoining a Service Area, as

 described in Exhibit 4, Paragraph 2.7, first sub-bullet of the License Agreement, as of the

 Execution Date.

        x.      “Control/Home Blue Plan” means, in the context of the BlueCard Program,

 the Blue Plan that administers the Member’s Blue-Branded Commercial Health Benefit

 Product.

        y.      “Controlled Affiliate Licensee” means a company operating under the

 control of a Primary Licensee that is licensed to use the Blue Marks pursuant to a

 Controlled Affiliate License Agreement (Larger or Smaller) granted by BCBSA.




                                          7
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 13 of 163




         z.     “Court” means the United States District Court for the Northern District of

 Alabama, Southern Division.

         aa.    “Covered Services” means healthcare services, equipment, or supplies

 covered under an individual’s Commercial Health Benefit Product administered by any

 Settling Individual Blue Plan.

         bb.    “Effective Date” has the meaning given to it in Paragraph 8.

         cc.    “Eligible Affiliate” means an affiliate of an Anchor Hospital that is (i) a

 Hospital, (ii) within a 60-minute average driving time from the Anchor Hospital itself and

 within the same state and Service Area as the Anchor Hospital, and (iii) a Settlement Class

 Member. The average driving time between the Anchor Hospital and its affiliate will be

 measured using the Distance Matrix API offered by Google Maps. Affiliation is to be

 determined based upon the Hospital demonstrating common ownership or, in states where

 such common ownership is prohibited by law, the Hospital demonstrating a commensurate

 level of joint control or operation consistent with local rules. Opt-Outs are not Eligible

 Affiliates.

         dd.    “ERISA” means the Employee Retirement Income Security Act of 1974,

 29 U.S.C. § 1001 et seq.

         ee.    “Escrow Account” means the account into and from which the Settlement

 Amount (including the Notice and Administration Fund and Fee and Expense Award(s))

 will be deposited, held, and ultimately distributed, as further described in Paragraph 35.

 The Escrow Account is intended to be a separate taxable entity and intended to qualify as

 a “qualified settlement fund” within the meaning of Section 1.468B-1 of the Treasury




                                          8
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 14 of 163




 Regulations promulgated under Section 468B of the Internal Revenue Code of 1986, as

 amended from time to time.

        ff.     “Escrow Agent” means the agent responsible for the Escrow Account, as

 further described in Paragraph 35.

        gg.     “Excluded Providers” are (i) Providers owned or employed by any of the

 Settling Defendants; (ii) Providers owned or employed exclusively by Government Entities

 or Providers that exclusively provided services, equipment or supplies to members of or

 participants in Medicare, Medicaid or the Federal Employee Health Benefits Programs;

 (iii) Providers that have otherwise fully released their Released Claims against the

 Releasees prior to the Execution Date, including but not limited to Providers that were

 members of any of the settlement classes in Love v. Blue Cross and Blue Shield

 Association, No. 1:03-cv-21296-FAM (S.D. Fla.); or (iv) Providers that exclusively

 provide or provided (a) prescription drugs; (b) durable medical equipment; (c) medical

 devices; (d) supplies or services provided in an independent clinical laboratory; or

 (e) services, equipment or supplies covered by standalone dental or vision insurance. Any

 Provider that falls within the exclusion(s) set forth in clauses (i), (ii) or (iv) of this

 Paragraph 1(gg) for only a portion of the Settlement Class Period is a Settlement Class

 Member that may recover in the settlement as set forth in the Plan of Distribution.

        hh.     “Execution Date” means October 4, 2024.

        ii.     “Fee and Expense Application” means the application that Settlement Class

 Counsel may submit to the Court as set forth in Paragraph 37(a).

        jj.     “Fee and Expense Award” means the attorneys’ fees and expenses awarded

 by the Court upon an application or applications, as further described in Paragraph 37.




                                          9
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 15 of 163




        kk.     “Final Approval Motion” means the motion submitted to the Court seeking

 final approval of this Agreement, as further described in Paragraph 6.

        ll.     “Final Fairness Hearing” means the hearing to be held by the Court to

 determine whether the settlement set forth in this Agreement shall receive final approval

 pursuant to Federal Rule of Civil Procedure 23.

        mm.     “Final Judgment and Order of Dismissal” means the order of the Court

 providing final approval of the settlement set forth in this Agreement and dismissing with

 prejudice the claims of the Provider Class Representatives and Settlement Class Members

 against Settling Defendants.

        nn.     “Force Majeure” means any act of God, governmental act, act of terrorism,

 war, infrastructure failure (including cyber-security attack), fire, flood, earthquake or other

 natural disaster, explosion or civil commotion that prevents a Settling Individual Blue Plan

 from meeting its obligations under Paragraph 13 of this Agreement.

        oo.     “Government Entity” means only a Native American tribe or the federal

 government (including the Federal Employee Program).

        pp.     “HIPAA” means the Health Insurance Portability and Accountability Act

 of 1996, 42 U.S.C. § 1320-d et seq., as amended, as of the Execution Date.

        qq.     “Hospital” shall have the meaning set forth in Section 1861(e) of the Social

 Security Act, 42 U.S.C. § 1395x(e), without regard for the exclusion of “critical access

 hospitals” (as defined in Section 1861(mm)(1) of the Social Security Act) and “rural

 emergency hospitals” (as defined in Section 1861(kkk)(2) of the Social Security Act),

 which shall be considered Hospitals for purposes of this Agreement. For the avoidance of




                                           10
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 16 of 163




 doubt, “psychiatric hospitals” (as defined in Section 1861(f) of the Social Security Act) are

 Hospitals for purposes of this Agreement.

        rr.     “In Camera Supplement” means the agreement containing certain

 Confidential terms allowing rescission of the Settlement Agreement that will be submitted

 in camera to the Court.

        ss.     “Injunctive Relief” refers to the provisions in Paragraphs 10–26.

        tt.     “LAN APM Framework” means the Learning & Action Network’s

 Alternative Payment Model Framework, as set forth in “Alternative Payment Model APM

 Framework”, released on July 11, 2017 (Case Number 17-2546).

        uu.     “License Agreement” means the written document between BCBSA and a

 Settling Individual Blue Plan (and its Controlled Affiliate Licensees, if applicable)

 conferring permission to use the Blue Marks in accordance with the Membership Standards

 and other BCBSA rules and requirements.

        vv.     “Local/Host Blue Plan” means, in the context of the BlueCard Program, the

 Blue Plan that delivers the benefit of its Provider arrangements to a Control/Home Blue

 Plan’s Members.

        ww.     “Material Loss Contingency Reserve” means the fund, created solely from

 the Net Settlement Fund, to cover any and all Notice and Administration Costs (including

 monitoring fees and expenses as set forth in Paragraph 30) that might exceed the initial

 amount of the Notice and Administration Fund. The amount of any Material Loss

 Contingency Reserve shall be approved by the Court upon entry of the Final Judgment and

 Order of Dismissal and shall not exceed two percent (2%) of the Net Settlement Fund.




                                          11
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 17 of 163




 Upon such Court approval, any Material Loss Contingency Reserve shall be contributed to

 the Notice and Administration Fund.

         xx.    “Member” means any individual enrolled in or covered by a Commercial

 Health Benefit Product regardless of what term or title is used to refer to the individual in

 documents that pertain to the Commercial Health Benefit Product, including employees,

 their spouses and dependents, beneficiaries, and ERISA participants.

         yy.    “Membership Standards” means the membership requirements included in

 the License Agreement, including the standards and rules applicable to the Settling

 Individual Blue Plan contained within the BCBSA Guidelines to Administer the

 Membership Standards, as of the Execution Date.

         zz.    “Minimum Necessary Rule” means the HIPAA requirement as of the

 Execution Date that covered entities (as defined by HIPAA) must take reasonable steps to

 limit the use or disclosure of, and requests for, protected health information to the minimum

 necessary to accomplish the intended purpose, as further described in 45 C.F.R.

 §§ 164.502(b) and 164.514(d).

         aaa.   “Monitoring Committee” means the committee established to oversee

 compliance with the settlement during the Monitoring Period as set forth in

 Paragraphs 29–30 and Appendix C.

         bbb.   “Monitoring Committee Process” means all of the review and actions by the

 Monitoring Committee as set forth in Paragraph 29 and Appendix C.

         ccc.   “Monitoring Period” means the period of five (5) years from the Effective

 Date.




                                          12
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 18 of 163




        ddd.   “Net Settlement Fund” means the Settlement Fund less payments relating

 to: (i) the Monitoring Committee, as set forth in Paragraph 30; (ii) the Escrow Account

 (including Taxes and Tax Expenses), as set forth in Paragraph 35; (iii) the Notice and

 Administration Fund, as set forth in Paragraph 32(a); and (iv) the Fee and Expense Award

 and any Service Award, as set forth in Paragraph 37.

        eee.   “Non-Blue-Branded” means a product or service marketed, offered, sold or

 contracted-for using a brand or marks other than the Blue Marks.

        fff.   “Notice and Administration Costs” means all Court-approved costs

 reasonably incurred or assessed by the Special Master, Settlement Notice Administrator,

 Settlement Claims Administrator, Escrow Agent, Section 468B Administrator, Settlement

 Class Counsel, and Settlement Administrator in connection with providing notice to the

 Settlement Class, locating Class Members, administering and distributing the Settlement

 Fund and Escrow Account, purchasing any insurance policy for the members of the

 Monitoring Committee, as well as costs reasonably and actually incurred by the Monitoring

 Committee, the Special Master, and Settlement Class Counsel, in connection with

 monitoring under Paragraph 29. For the avoidance of doubt, Notice and Administration

 Costs shall not include Settlement Class Counsel’s work in securing settlement approval,

 including appeals from the grant of a Final Approval Motion.

        ggg.   “Notice and Administration Fund” means the amount used to pay for Notice

 and Administration Costs. The Notice and Administration Fund shall be funded out of the

 Settlement Fund in the amount of $100 million ($100,000,000.00) plus any income

 generated from the Notice and Administration Fund during the period such funds are in the

 Escrow Account. If, prior to entry of the Final Judgment and Order of Dismissal,




                                        13
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 19 of 163




 Settlement Class Counsel believes that $100 million ($100,000,000.00) plus interest will

 be insufficient to pay for Notice and Administration Costs, Settlement Class Counsel may

 seek approval from the Court to create the Material Loss Contingency Reserve, which shall

 be funded out of the Settlement Fund. In no event shall Settling Defendants have any

 obligation to increase the Settlement Amount or the Settlement Fund for any purpose,

 including for purposes of Notice and Administration Costs. Any amount remaining at the

 expiration of the Monitoring Period and the completion of settlement administration

 (including accrued income on the Notice and Administration Fund) will be distributed in

 accordance with Paragraph 39(b).

        hhh.    “Notice Motion” means the motion that Settlement Class Counsel shall

 submit to the Court for authorization to disseminate Class Notice of the settlement and the

 Final Judgment and Order of Dismissal contemplated by this Agreement to all Class

 Members. It shall be filed simultaneously with the Preliminary Approval Motion.

        iii.    “Notice Plan” means any plan and methodology used to notify Class

 Members that is approved by the Court.

        jjj.    “Opt-Out” means only persons and entities within the Settlement Class who

 file a timely and compliant written request for exclusion from the Settlement Class in full

 accordance with the procedure set forth in the Class Notice.

        kkk.    “Opt-Out Deadline” means the Court-ordered date(s) by which all persons

 and entities seeking exclusion from the Settlement Class must submit a written request for

 exclusion as set forth in the Class Notice.




                                          14
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 20 of 163




          lll.   “Participating Providers” means Settlement Class Members with a

 participation agreement with a Settling Individual Blue Plan that covers the services

 rendered to a Blue Plan Member under that participation agreement.

          mmm. “Party” means any Provider Class Representative, Settlement Class

 Member, BCBSA, or Settling Individual Blue Plan. “Parties” means the collective of all

 Provider Class Representatives, all Settlement Class Members, BCBSA, and all Settling

 Individual Blue Plans.

          nnn.   “Plan of Distribution” means the plan of allocation of the Settlement Fund

 whereby the Net Settlement Fund shall be distributed to Authorized Claimants after

 payment of Notice and Administration Costs, Taxes and Tax Expenses, Fee and Expense

 Award(s), and any Service Award(s). At a time and in a manner determined by the Court,

 Settlement Class Counsel shall submit for Court approval a Plan of Distribution for the

 Settlement Class that will provide for the distribution of the applicable Net Settlement Fund

 and the foundation for the requested allocation. The Plan of Distribution shall be devised

 and implemented with the assistance of the Settlement Claims Administrator, and shall

 contemplate the refund of the Net Settlement Fund under Paragraphs 8(d), 33, 37(b), 51,

 or 53.

          ooo.   “Preliminary Approval Motion” means the motion submitted to the Court

 seeking preliminary approval of this Agreement, as further described in Paragraph 3.

          ppp.   “Preliminary Approval Order” means the Court order preliminarily

 approving this Agreement.

          qqq.   “Primary Licensee” means an entity that has been granted a Primary License

 Agreement by BCBSA. Primary Licensees are listed in Appendix A.




                                          15
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 21 of 163




        rrr.    “Provider” means any person or entity that provides healthcare services in

 the U.S., including but not limited to a physician, group practice, or facility.

        sss.    “Provider Actions” means the lawsuits brought by persons and entities

 within the Settlement Class and consolidated in In re Blue Cross Blue Shield Antitrust

 Litigation, Case No. 13-cv-20000-RDP (MDL No. 2406), including the Consolidated

 Fourth Amended Provider Complaint, which is currently pending in the Court; all actions

 that may be transferred or consolidated prior to the time Class Notice is mailed; and all

 actions that are otherwise based, in whole or in part, on the conduct alleged in MDL

 No. 2406. Appendix B lists such actions as of the Execution Date. In addition to the

 actions included on Appendix B, the case captioned VHS Liquidating Trust et al. v. Blue

 Cross of Calif., Case No. RG21106600 (Ca. Super. Ct. Alameda Cnty.) shall also be

 included among the “Provider Actions” so long as the plaintiffs to that action do not file

 timely and compliant written requests for exclusion from the Settlement Class in full

 accordance with the procedure set forth in the Class Notice.

        ttt.    “Provider Class Representatives” means Jerry L. Conway, D.C.; InMed

 Group, Inc., f/k/a Crenshaw Community Hospital; Bullock County Hospital; Evergreen

 Medical Center, LLC; Jackson Medical Center; Ivy Creek Healthcare; Elmore Community

 Hospital; Georgiana Medical Center; Lake Martin Community Hospital; Joseph D.

 Ackerson, Ph.D.; Janine Nesin, P.T., D.P.T., O.C.S.; Roman Nation, M.D.;

 Neuromonitoring Services of America, Inc.; Confluent Health; ProRehab, P.C.; Texas

 Physical Therapy Specialists, LLC; BreakThrough Physical Therapy, Inc.; Dunn Physical

 Therapy, Inc.; Gaspar Physical Therapy, P.C.; Timothy H. Hendlin, D.C.; Greater

 Brunswick Physical Therapy, P.A.; Charles Barnwell, D.C.; Judith Kanzic, D.C.; Brian




                                           16
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 22 of 163




 Roadhouse, D.C.; Dr. Saket K. Ambasht, M.D.; Snowden Olwan Psychological Services;

 Matthew Caldwell, M.D.; and Mishanta Reyes, M.D.

        uuu.     “Provider Co-Lead Counsel” means Edith M. Kallas and Joe R. Whatley,

 Jr. of Whatley Kallas LLP.

        vvv.     “Provider Liaison Committee” means the group of ten (10) Settlement Class

 Members that liaises with the National Executive Resolution Group, as described in

 Paragraph 17.

        www. “Provider Plaintiff Steering Committee” means the committee established

 and appointed by the Court pursuant to Case Management Order No. 2 – Order Appointing

 Interim Co-Lead Class Counsel, Local Facilitating Counsel, Plaintiffs’ Steering

 Committee, and Discovery Liaison Counsel (Dkt. 61).

        xxx.     “Released Claims” means any and all known and unknown claims, causes

 of action, cross-claims, counter-claims, charges, liabilities, demands, judgments, suits,

 obligations, debts, setoffs, rights of recovery, or liabilities for any obligations of any kind

 whatsoever (however denominated), whether class or individual, in law or equity or arising

 under constitution, statute, regulation, ordinance, contract or otherwise in nature—

 including without limitation any and all actual or potential actions, losses, judgments, fines,

 debts, liabilities (including joint and several), liens, causes of action, demands, rights,

 damages, penalties, punitive damages, costs, expenses (including attorneys’ fees and legal

 expenses), indemnification claims, contribution claims, obligations, compensation, and

 claims for damages or for declaratory, equitable or injunctive relief of any nature (including

 but not limited to antitrust, RICO, contract, tort, conspiracy, unfair competition, or unfair

 trade practice claims)—known or unknown, suspected or unsuspected, asserted or




                                           17
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 23 of 163




 unasserted, direct or derivative, based upon, arising from, or relating in any way to: (i) the

 factual predicates of the Provider Actions (including but not limited to the Consolidated

 Amended Provider Complaints filed in the Northern District of Alabama) including each

 of the complaints and prior versions thereof, or any amended complaint or other filings

 therein from the beginning of time through the Effective Date; (ii) any issue raised in any

 of the Provider Actions by pleading or motion; or (iii) mechanisms, rules or regulations by

 the Settling Individual Blue Plans and BCBSA within the scope of Paragraphs 10–26

 approved through the Monitoring Committee Process during the Monitoring Period and

 that are based on the same factual predicate of the Provider Actions and related to the

 injunctive relief provided by Paragraphs 10–26. Nothing in this Release shall release

 claims, however asserted, that arise in the ordinary course of business and are based solely

 on (a) claims by the Provider in the Provider’s capacity as a plan sponsor or subscriber or

 (b) claims regarding whether a Settling Individual Blue Plan properly paid or denied a

 claim for a particular product, service or benefit based on the benefit plan document,

 Provider contract, or state or federal statutory or regulatory regimes (including state prompt

 pay laws). Notwithstanding the foregoing sentence, any claim, however asserted, in

 clauses (a) or (b) in this Paragraph 1(xxx), based in whole or in part on the factual

 predicates of the Provider Actions or any other component of the Released Claims

 discussed in this Paragraph, is released. Released Claims include, but are not limited to,

 claims that arise after the Effective Date.

         yyy.    “Releasees” means (i) Settling Individual Blue Plans; (ii) BCBSA;

 (iii) NASCO; (iv) Consortium Health Plans, Inc.; and (v) for each of the persons and

 entities listed in clauses (i)–(iv) of this Paragraph 1(yyy), any and all of their past, present




                                           18
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 24 of 163




 and future, direct and indirect, parent companies, subsidiary companies, affiliated

 companies, affiliated partnerships and joint venturers, including all of their respective

 predecessors, successors and assigns, and each and all of their present, former and future

 principals, partners, investors, officers, directors, supervisors, employees, agents,

 stockholders,    members,      representatives,   insurers,    attorneys,   heirs,   executors,

 administrators, beneficiaries and representatives of any kind.

         zzz.    “Releasors” means the Provider Class Representatives and each and every

 Settlement Class Member and all of their predecessors, successors, heirs, administrators

 and assigns. Each Releasor releases Released Claims on behalf of itself and on behalf of

 any party claiming by, for, under or through the Releasor, with such claiming parties to

 include any and all of Releasor’s past, present and future officers, directors, supervisors,

 employees, agents, stockholders, investors, members, attorneys, servants, representatives,

 accounts, plans, groups, parent companies, subsidiary companies, affiliated companies,

 divisions, affiliated partnerships, joint venturers, principals, partners, wards, heirs, assigns,

 beneficiaries, estates, next of kin, family members, relatives, personal representatives,

 administrators, agents, representatives of any kind, insurers, and all other persons,

 partnerships or corporations with whom any of the foregoing have been, are now or become

 affiliated, and the predecessors, successors, heirs, executors, administrators and assigns of

 any of the foregoing.

         aaaa. “Section 468B Administrator” means the administrator of the Escrow

 Account for the purpose of Section 468B of the Internal Revenue Code of 1986 as

 amended, and the regulations promulgated thereunder.




                                            19
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 25 of 163




        bbbb. “Service Area” means the area in which a Settling Individual Blue Plan is

 granted rights to use the Blue Marks under its License Agreement(s) with BCBSA, as of

 the Execution Date.

        cccc. “Service Award” means any Court-approved monetary award for Provider

 Class Representatives paid from the Settlement Amount, as further defined in

 Paragraph 37(d).

        dddd. “Service Level Agreements” or “SLAs” mean the performance

 commitments and standards with respect to BlueCard Claims, as described in

 Paragraph 19.

        eeee. “Settlement Administrator” means the settlement administrator selected by

 the Court, who will assist in the implementation of the Notice Plan and the Plan of

 Distribution. The Settlement Administrator shall prepare a lifetime budget for Notice and

 Administration Costs (including, without limitation, work to be performed by the

 Settlement Notice Administrator and Settlement Claims Administrator) for review and

 approval of the voting members of the Provider Plaintiff Steering Committee; provide the

 voting members of the Provider Plaintiff Steering Committee with quarterly financial

 reports to compare the budget to actual operation results; create and implement accounting

 internal controls; take reasonable measures to detect waste, misappropriation and fraud;

 and engage an outside financial auditor (also to be paid from the Notice and Administration

 Fund), to the extent reasonably necessary.

        ffff.    “Settlement Amount” shall be $2.8 billion ($2,800,000,000.00).         The

 Settlement Amount includes Notice and Administration Costs and any Fee and Expense

 Award and any Service Award(s).




                                         20
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 26 of 163




         gggg. “Settlement Claim Process” means any process approved by the Court by

 which any eligible Settlement Class Member may make a claim against the Net Settlement

 Fund.

         hhhh. “Settlement Claims Administrator” means the third party to be retained by

 the Settlement Class, through Provider Co-Lead Counsel, and approved by the Court, to

 manage and administer the process by which Settlement Class Members are paid pursuant

 to the Plan of Distribution, including processing the claims submitted by Settlement Class

 Members, calculating the amounts owed to each Authorized Claimant, and distributing the

 Net Settlement Fund to Authorized Claimants in accordance with the Plan of Distribution.

         iiii.   “Settlement Class” includes all Providers in the U.S. (other than Excluded

 Providers, who are not part of the Settlement Class) who currently provide or provided

 healthcare services, equipment or supplies to any patient who was insured by, or who was

 a Member of or a beneficiary of, any plan administered by any Settling Individual Blue

 Plan during the Settlement Class Period.

         jjjj.   “Settlement Class Counsel” means all Provider counsel signatories to this

 Agreement.

         kkkk. “Settlement Class Members” means collectively any person or entity within

 the definition of the Settlement Class, excluding Opt-Outs.

         llll.   “Settlement Class Period” means July 24, 2008, through the Execution

 Date.

         mmmm.          “Settlement Fund” means the amount paid by Settling Defendants

 for the Settlement Amount, which includes the Notice and Administration Fund, any

 Service Award(s), and the Fee and Expense Award(s) plus any income earned on those




                                         21
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 27 of 163




 monies. No part of the Settlement Fund may be used to create any ASO prompt pay or

 interest fund, or any other fund that is not in furtherance of relief expressly set forth in this

 Agreement; provided that Settlement Class Counsel may take into account the type of claim

 (e.g., ASO) in determining the allocation of Settlement Fund dollars among Settlement

 Class Members. In no event shall Settling Defendants be required to contribute more than

 $2.8 billion ($2,800,000,000.00) to the Settlement Fund.

         nnnn. “Settlement Notice Administrator” means the third party to be retained by

 the Settlement Class, through Provider Co-Lead Counsel, and approved by the Court, to

 manage, administer, and effectuate the Notice Plan.

         oooo. “Settling Defendants” means all Settling Individual Blue Plans and BCBSA

 collectively.

         pppp. “Settling Individual Blue Plan” or “Blue Plan” means a Primary Licensee,

 including Controlled Affiliate Licensees.

         qqqq. “Settling Individual Blue Plans” or “Blue Plans” means each and every

 Settling Individual Blue Plan, collectively.

         rrrr.   “SLA Performance Guarantee Program” means the escalating performance

 guarantee program related to the Service Level Agreements, described in Paragraph 19(c).

         ssss.   “Taxes” means any and all federal, state and local income taxes, excise

 taxes, estimated taxes, gross receipt taxes, or any other taxes, as well as interest, penalties,

 tax detriments, and any other additions to taxes, arising with respect to the income of the

 Escrow Account or the operations of the Escrow Account, including any such federal, state,

 and local taxes (and interest, penalties, tax detriments, and additions to tax) to which

 Settling Defendants or any other Releasee may be subject with respect to (i) any income




                                            22
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 28 of 163




       earned by the Escrow Account for any period during which the Escrow Account is not

       treated, or does not qualify, as a “qualified settlement fund” for federal or state income tax

       purposes, and (ii) the payment or reimbursement by the Escrow Account of any amounts

       described in clause (i) of this Paragraph 1(ssss).

               tttt.   “Tax Expenses” means expenses and costs incurred in connection with the

       operation and implementation of the Escrow Account (including expenses of attorneys

       and/or accountants and mailing and distribution costs and expenses relating to filing, or

       failing to file, any Tax returns, including any such costs and expenses relating to filing, or

       failing to file, returns in respect of distributions from the Escrow Account).

               uuuu. “U.S.” means all fifty (50) states, the District of Columbia, and Puerto Rico.

               vvvv. “Virtual-Only Services” means the virtual delivery of medical care from a

       Provider to a consumer via electronic modes of communication, including audio,

       audio/visual, email and text.

B.     APPROVAL OF SETTLEMENT AGREEMENT AND DISMISSAL OF CLAIMS

       2.      Reasonable Best Efforts. Settlement Class Counsel and Settling Defendants shall

use their reasonable best efforts to effectuate each term in this Agreement, including but not limited

to cooperating in seeking the Court’s approval for the establishment of procedures (including

providing Class Notice under Federal Rules of Civil Procedure 23(c) and (e)) to secure the

complete and final dismissal with prejudice of the Provider Actions as to the Releasees.

       3.      Preliminary Approval Motion. Unless the schedule is modified by the Court,

within thirty (30) calendar days of the Execution Date, Provider Class Representatives shall submit

to the Court a Preliminary Approval Motion. The Preliminary Approval Motion shall include

(i) the proposed form of an order preliminarily approving this Agreement, and (ii) a proposed Final




                                                 23
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 29 of 163




Judgment and Order of Dismissal that shall include, at a minimum, the terms set forth in

Paragraph 6.

       4.      Preliminary Approval and Preliminary Fairness Hearing. Settling Defendants

and Settlement Class Counsel agree to collaborate in their presentations at the preliminary approval

and preliminary fairness hearing, with Settling Defendants, Provider Class Representatives, and

Settlement Class Counsel using their reasonable best efforts to establish that this settlement is in

the best interests of the Settlement Class.

       5.      Notice Motion. Simultaneously with the Preliminary Approval Motion, Settlement

Class Counsel shall submit to the Court the Notice Motion. The Notice Motion shall describe the

method for dissemination of Class Notice.

               a.      Class Notice and procedures governing dissemination of the Notice will be

       reasonably calculated to apprise Class Members of the pendency of the Provider Actions,

       this Agreement, and their opportunity to be heard and to opt out.

               b.      At present, Settlement Class Counsel believe they do not require from

       Settling Defendants any additional contact information or other data related to Class

       Members in order to provide the best practicable notice under the circumstances to the

       Settlement Class. To the extent Settlement Class Counsel identify, in the future, gaps in

       the information or data needed to carry out the Notice Plan or to pay claims in accordance

       with the Plan of Distribution, Provider Co-Lead Counsel shall identify such additional

       information or data for Settling Defendants, and Settling Defendants agree to provide

       reasonable cooperation in providing (or assisting Providers in otherwise obtaining) any

       such necessary information or data to the Settlement Notice Administrator and/or

       Settlement Claims Administrator, as appropriate, with all Parties agreeing that Settling




                                                24
    Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 30 of 163




       Defendants shall have reasonable and sufficient time to do so. Any data or information

       provided pursuant to this Paragraph 5(b) shall be kept Confidential.

       6.     Final Approval Motion. If the Court preliminarily approves this Agreement,

Provider Class Representatives shall submit a Final Approval Motion to the Court, after

appropriate notice to the Settlement Class, and shall seek entry of a Final Judgment and Order of

Dismissal. The proposed Final Judgment and Order of Dismissal shall include, at a minimum, the

substance of the following provisions:

              a.      Certifying the Settlement Class, pursuant to Federal Rule of Civil

       Procedure 23, solely for the purposes of this settlement;

              b.      Providing final approval of this settlement and its terms as being fair,

       reasonable, and adequate within the meaning of Federal Rule of Civil Procedure 23 and

       directing its consummation according to its terms;

              c.      Directing that all Releasors shall, by operation of law, be deemed to have

       released all Releasees from the Released Claims;

              d.      Directing that the Provider Actions be dismissed with prejudice and, except

       as provided for in this Agreement, without costs;

              e.      Reserving exclusive jurisdiction over the settlement and this Agreement,

       including the interpretation, administration, and consummation of this settlement to the

       Court, and including any Fee and Expense Award and/or any Service Award(s);

              f.      Determining under Federal Rule of Civil Procedure 54(b) that there is no

       just reason for delay and directing that the judgment of dismissal of the Provider Actions

       shall be final; and




                                               25
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 31 of 163




               g.     Enjoining all Releasors from asserting any Released Claims against any

       Releasee.

       7.      Review of Filings and Other Settlement-Related Documents. All motions,

pleadings, filings, reports, forms, and other documents related to approval or performance of the

settlement shall be submitted to Settling Defendants for reasonably prompt comment as to form

and content prior to submission or transmission to the Court and/or Class Members. This includes,

but is not limited to, the Preliminary Approval Motion, the Notice Motion, the Settlement Claim

Process, the Final Approval Motion, the proposed Final Judgment and Order of Dismissal, and all

exhibits thereto.

       8.      Finality of Agreement.

               a.     The Effective Date of the settlement shall be the latest date when all of the

       following events shall have occurred and shall be conditioned on the occurrence of all of

       the following events, and the Agreement shall become final upon the occurrence of all the

       following events:

                      i.     Execution of this Agreement;

                      ii.    All monies to the Settlement Fund have been paid by Settling

                      Defendants pursuant to this Agreement;

                      iii.   Entry of the Preliminary Approval Order;

                      iv.    Entry of the Class Notice Approval Order;

                      v.     The deadline for Class Members to request exclusion from the

                      settlement has passed;

                      vi.    Entry of the Final Judgment and Order of Dismissal, following

                      dissemination of Class Notice and the Final Fairness Hearing;




                                               26
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 32 of 163




               vii.    The Final Judgment and Order of Dismissal becoming final per

               Paragraph 8(a)(viii) below;

               viii.   The time for appeal or to seek permission to appeal from the Final

               Judgment and Order of Dismissal expires, or if appealed, (i) such appeal is

               dismissed prior to resolution by the applicable court and the time for appeal

               or to seek permission to appeal such dismissal order expires or the dismissal

               order is affirmed in its entirety (or review of the order is denied) by the court

               of last resort to which such appeal may be taken; (ii) the Final Judgment

               and Order of Dismissal is affirmed in its entirety by the court of last resort

               to which such appeal may be taken; or (iii) the Final Judgment and Order of

               Dismissal is modified, the Parties agree to the modifications, any pending

               appeals are withdrawn, and the order or other document withdrawing all

               pending appeals is entered; and

               ix.     Neither Provider Class Representatives nor Settling Defendants

               have availed themselves of their respective rights to cancel and rescind the

               Agreement pursuant to Paragraphs 8(d), 33, 37(b), 51, or 53 and the

               deadlines for doing so have passed.

        b.     For purposes of this Paragraph 8, an appeal of the Final Judgment and Order

 of Dismissal includes but is not limited to appeals as of right, discretionary appeals,

 interlocutory appeals, proceedings involving writs of certiorari or mandamus, and legally

 comparable appellate proceedings regardless of nomenclature (excluding any appeal solely

 related to the Fee and Expense Application or the Monitoring Committee Process).




                                          27
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 33 of 163




        c.        Notwithstanding any other provision in this Paragraph 8, any proceeding,

 order, or motion for reconsideration, appeal, petition for a writ of certiorari or its

 equivalent, pertaining solely to any Plan of Distribution, Fee and Expense Application,

 and/or the actions of the Monitoring Committee shall not in any way delay or preclude the

 Effective Date.

        d.        Notwithstanding any other provision in this Paragraph 8, if the Final

 Judgment and Order of Dismissal as set forth in Paragraph 6 is modified by any court in a

 material way (i.e., except solely as to any Plan of Distribution, Notice Plan, and/or Fee and

 Expense Application that does not have the effect of increasing Settling Defendants’

 financial obligation under this Agreement), Settling Defendants or Settlement Class

 Counsel (on behalf of the Settlement Class) may rescind this Agreement subject to

 Paragraph 53.

        e.        For purposes of this Paragraph 8, the Agreement will become final upon the

 occurrence of all of the events listed in Paragraph 8(a) even if the Monitoring Period has

 not concluded.

 9.     No Admission of Wrongdoing or Liability by Settling Defendants.

        a.        Nothing in this Agreement will constitute or be construed as an admission

 of liability or wrongdoing by any Settling Defendant. Neither this Agreement (regardless

 of whether it becomes final), nor the Final Judgment and Order of Dismissal, nor any and

 all negotiations, documents, or discussions associated with them, nor any proceedings

 undertaken in accordance with the terms set forth herein, shall be deemed or construed to

 be (i) an admission or concession by any of the Settling Defendants (or evidence thereof)

 in any action or proceeding of any kind whatsoever, civil, criminal, or otherwise, before




                                          28
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 34 of 163




 any court, arbitrator, administrative agency, regulatory body, or any other body or authority

 present or future, (ii) evidence of any violation of any statute or law or of any liability or

 wrongdoing whatsoever by any Settling Defendant, or (iii) evidence of the truth or validity

 of any of the claims or allegations contained in any complaint or any other pleading that

 Provider Class Representatives or Class Members have or could have asserted against

 Settling Defendants, including without limitation that Settling Defendants have engaged in

 any conduct or practice that violates any antitrust statute, or other law, regulation, or

 obligation. Settling Defendants expressly deny any wrongdoing or liability whatsoever for

 any and all such claims and allegations.

        b.      Neither this Agreement, nor any of its terms or provisions, nor any

 statement or document made or filed in connection herewith, nor the fact of this

 Agreement, nor any of the negotiations or proceedings connected with it, nor any other

 action taken to carry out this Agreement by any Settling Defendant, shall be discoverable

 or be filed, referred to, offered as evidence or received in evidence, or otherwise used

 against Settling Defendants in any way, directly or indirectly, in any pending or future civil,

 criminal, or administrative action, arbitration, or proceeding whatsoever, except in a

 proceeding (i) to enforce this Agreement, (ii) to defend against the assertion of Released

 Claims, or (iii) regarding a Settling Individual Blue Plan’s own insurance coverage related

 to the Provider Actions; and even in such circumstances, such documents continue to be

 subject to their Confidentiality designations pursuant to the Qualified Protective Order

 (Dkt. 550), including the Supplement and Amended Supplement to the Qualified Protective

 Order (Dkts. 1488, 3171).




                                            29
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 35 of 163




C.     CLASS INJUNCTIVE RELIEF

       10.     Service Areas/BlueCard Program. Subject to the provisions of Paragraphs 11

and 12, nothing in this Agreement shall prevent any Settling Individual Blue Plan from continuing

to operate its Blue-Branded business only in its Service Area, in accordance with the License

Agreement(s) and Membership Standards as of the Execution Date, or prevent BCBSA from

maintaining and enforcing such License Agreement(s) and Membership Standards. Subject to the

provisions of Paragraphs 11 and 12, nothing in this Agreement shall prevent BCBSA from

operating, and any Settling Individual Blue Plan from continuing to participate in, the BlueCard

Program. Any material qualitative changes to the system of the Settling Individual Blue Plans’

Service Areas or the BlueCard Program after the Effective Date will not be covered by the releases

defined in Paragraphs 42 and 43 unless such changes are approved by the Monitoring Committee

pursuant to Paragraph 29 or Court order. For the avoidance of doubt, mergers or consolidations

among Settling Individual Blue Plans, termination of a Settling Individual Blue Plan’s License

Agreement, and/or the issuance of License Agreements to replacement Settling Individual Blue

Plans do not constitute such material qualitative changes.

       11.     Expansion of Contiguous Area Provider Contracting. BCBSA agrees to permit

Blue Plans to negotiate Contiguous Area Contracts with Anchor Hospitals that include both the

Anchor Hospital and its Eligible Affiliates. Furthermore, once an Eligible Affiliate enters into a

contract pursuant to this Paragraph 11, the hospitalists and/or other professionals performing

services at such Eligible Affiliate Hospital location may also enter into a contract provided for in

this Paragraph 11 covering their services performed at that specific Eligible Affiliate Hospital

location, provided that (i) those hospitalists/professionals must be exclusive to the Eligible

Affiliate Hospital, either because they are employed directly by the Eligible Affiliate itself or

because they are employed by a professional organization that is exclusive to the hospital system


                                                30
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 36 of 163




of which the Anchor Hospital and its Eligible Affiliate are a part; and (ii) only claims for services

performed at the Eligible Affiliate Hospital location, as confirmed by Box 24b or Box 32 of the

standard Professional Provider Claim Form 1500 from CMS or other comparable form, may be

submitted under a contract that falls within this Paragraph 11. Claims for services performed by

these professionals at all other locations are expressly outside this Paragraph 11. BCBSA will not

adopt or implement any rule or requirement in any future License Agreement that undoes the relief

granted by this Paragraph 11 in regards to Contiguous Area Contracting.

       12.     Member Access. BCBSA will modify the Contiguous Area Rule to remove the

requirement that any Contiguous Area Contracting must be “to serve [the Licensee’s] subscribers

residing or working in its [S]ervice [A]rea”, so that Contiguous Area Contracts may be accessible

to all of the contracting Blue Plan’s state membership, regardless of whether those Members live

or work in the Blue Plan’s Service Area. For Blue Plans that are licensed to use the Blue Marks

in more than one state, the modification will apply at the state, rather than Service Area, level.

BCBSA will not adopt or implement any rule or requirement in any future License Agreement that

reinserts the deleted language of Exhibit 4, Paragraph 2.3(a) of the License Agreement in existence

as of the Execution Date.

       13.     Prompt Pay Commitment to Participating Providers for Clean BlueCard

Claims. Each Settling Individual Blue Plan agrees to a timeliness commitment for Clean BlueCard

Claims for Covered Services rendered after the implementation date of this Paragraph 13 by

Participating Providers as follows:

               a.      For electronic claims submitted via an industry-standard electronic claims

       submission process, the “Prompt Pay Period” means thirty (30) calendar days following

       the later of (i) the Local/Host Blue Plan’s receipt of a Clean BlueCard Claim for Covered




                                                 31
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 37 of 163




 Services or (ii) the date on which the Blue Plan is in receipt of all information needed and

 in a format required for such claim to constitute a Clean BlueCard Claim for Covered

 Services and all documentation from the Participating Provider that is reasonably needed

 by the Local/Host Blue Plan or the Control/Home Blue Plan (a) to determine that the claim

 does not contain any material defect or error; (b) to determine that the claim is for Covered

 Services; and/or (c) to make a payment determination. For claims submitted through a

 non-electronic claims submission process consistent with the terms of the Settlement Class

 Member’s participation agreement or other agreement between the Participating Provider

 and Local/Host Blue Plan, the Prompt Pay Period shall be increased to forty-five (45)

 calendar days, but the other requirements stated above shall remain identical. Where a

 Local/Host Blue Plan state prompt pay law provides a longer payment time period (i.e.,

 more than thirty (30) calendar days for electronic claims or more than forty-five (45)

 calendar days for non-electronic claims), the state prompt pay time period shall be the

 applicable Prompt Pay Period, rather than the timeline(s) set forth in this Paragraph 13(a).

        b.      A Local/Host Blue Plan shall direct the issuance of a check or an electronic

 funds transfer in payment for Clean BlueCard Claims for Covered Services rendered by a

 Participating Provider within the applicable Prompt Pay Period, consistent with the terms

 of this Agreement. Failure to do so will require the Settling Individual Blue Plan to pay

 interest pursuant to Paragraph 13(c). This Paragraph 13(b) is satisfied once a Settling

 Individual Blue Plan directs payment on a Clean BlueCard Claim for Covered Services;

 any later adjustment to that payment or claim shall not be subject to the interest penalty in

 Paragraph 13(c).




                                          32
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 38 of 163




        c.      With respect to claims for Covered Services rendered by Participating

 Providers beginning ninety (90) calendar days after the Effective Date, for each Clean

 BlueCard Claim for Covered Services with respect to which the Local/Host Blue Plan has

 directed the issuance of a check or the electronic funds transfer later than the applicable

 Prompt Pay Period, the Local/Host Blue Plan shall pay interest at the rate of eight percent

 (8%) per annum on the allowed amount owed by the Settling Individual Blue Plan on each

 such claim computed from the first calendar day after the applicable Prompt Pay Period

 runs, up to the date on which the Local/Host Blue Plan directs the issuance of a check or

 the electronic funds transfer for payment of such Clean BlueCard Claim; provided that, to

 the extent that payment is made later than the period specified by applicable law or

 regulation, the Local/Host Blue Plan shall pay interest at any rate specified by such law or

 regulation in lieu of the interest payment otherwise contemplated by this Paragraph 13(c).

 Interest paid pursuant to this Paragraph shall, at the Local/Host Blue Plan’s election, either

 be included in the claim payment check or electronic funds transfer or be remitted

 periodically (but at least quarterly) in a separate check or electronic funds transfer along

 with a report detailing the claims for which interest is being paid. No Blue Plan shall have

 an obligation to make any interest payments pursuant to this Paragraph on any claim, or

 portion of a claim, that is properly denied within the Prompt Pay Period. In instances where

 a Settling Individual Blue Plan is found to have improperly denied a claim, interest on that

 claim will accrue; provided, however, that the Prompt Pay Period will not run—and interest

 will not accrue—between the period when the claim is denied and when that denial is

 formally overturned as improper. When the Prompt Pay Period begins to run again for




                                          33
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 39 of 163




 improperly denied claims, it will resume beginning where the period left off at the time of

 the denial and will not restart at “Day 1”.

        d.      No Settling Individual Blue Plan shall have an obligation to make any

 interest payment pursuant to Paragraph 13(c): (i) on any Clean BlueCard Claim if, within

 thirty (30) calendar days of the submission of the original claim, a duplicate claim is

 submitted while adjudication of the original claim is still in process; (ii) to any Provider

 that balance bills a Member in violation of such Provider’s agreement(s) with the

 Local/Host Blue Plan; (iii) during any time period in which a Force Majeure prevents

 adjudication of claims; (iv) where the claim payment is made to a Member; (v) on any

 claim under a plan for which all applicable premiums have not been paid; or (vi) to any

 Provider that is not a Settlement Class Member.

        e.      For BlueCard Claims that are denied, the Settling Individual Blue Plans

 agree to provide an explanation to the Participating Provider that sets forth the reason the

 Settling Individual Blue Plan made the decision to deny. For BlueCard Claims that are

 pended because additional information is required from the Participating Provider, the

 Settling Individual Blue Plans agree to identify what additional information the Provider

 must supply. A Settling Individual Blue Plan’s use of the Claim Adjustment Reason Codes

 (CARCs) and Remittance Advice Remark Codes (RARCs) to convey this information

 satisfies the requirements in this Paragraph 13(e).

        f.      If a Settling Individual Blue Plan determines that there is any defect or error

 in a BlueCard Claim that prevents the claim from entering the Blue Plan’s adjudication

 system, such Settling Individual Blue Plan shall notify the Participating Provider within

 thirty (30) calendar days of receiving the claim.




                                          34
    Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 40 of 163




              g.      Each Settling Individual Blue Plan shall maintain a system for determining

       the date each BlueCard Claim is received by the Settling Individual Blue Plan.

              h.      A BlueCard Claim receiving an interest payment under Paragraph 13(c)

       shall not be the basis for a dispute regarding compliance with this Agreement.

              i.      Notwithstanding anything in this Agreement to the contrary, the

       requirements of this Paragraph 13 shall not apply to (i) claims for covered services under

       a program offered or sponsored by any local or state (including any subdivision thereof,

       e.g., municipalities) or federal governmental entity, including under a governmental plan,

       as defined in Section 3(32) of ERISA, 29 U.S.C. § 1002(32); (ii) claims from a Provider

       under a documented investigation for fraud, waste or abuse; or (iii) claims for Covered

       Services under a plan that is governed by ERISA.

              j.      For the avoidance of doubt, nothing in this Agreement shall (i) require a

       Settling Individual Blue Plan to accept claims submitted by non-electronic means if that

       Settling Individual Blue Plan does not otherwise accept such claims; or (ii) require a

       Settling Individual Blue Plan to violate otherwise applicable state, federal or local law. A

       Provider may not recover under both this Paragraph 13 and state, federal, or local laws or

       a contract providing for prompt pay penalties for the same delay in payment.

       14.    BlueCard Transformation.         The Settling Defendants agree to develop and

implement a system-wide, cloud-based architecture that will enable the delivery of the Blue

System’s BlueCard Claims data, including but not limited to the BlueCard Program claims

processing infrastructure, as well as make other enhancements to information-sharing among Blue

Plans as further described in this Paragraph 14. This cloud-based architecture and enhanced

information-sharing will increase Blue Plans’—and, by extension, Providers’—access to critical




                                               35
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 41 of 163




information so that the Control/Home Blue Plan is no longer the only Blue Plan with available

information about Members obtaining healthcare services pursuant to the BlueCard Program. As

a result, Settlement Class Members will be able to receive up-to-date, accurate information, as if

they were a contracted provider of the Control/Home Plan, directly from their Local/Host Blue

Plan, so that the Local/Host Blue Plan is better equipped to resolve issues that may arise in the

administration of BlueCard Claims.       Specifically, the cloud-based platform and enhanced

information-sharing among Blue Plans will, individually or collectively, include and/or facilitate

the following:

                 a.   the capability for Blue Plans to access certain administrative data pertaining

       to Members accessing Covered Services pursuant to the BlueCard Program and to make

       that data available to Settlement Class Members in the Local/Host Blue Plan’s Service

       Area in the same way that the Local/Host Blue Plan currently shares its own Members’

       data (e.g., through their own provider portal/platform or through a multi-payor platform).

       Such administrative data shall include the following capabilities on the timelines set forth

       below:

                      i.      Member benefits and eligibility verification, which means the

                      information necessary to determine whether a Member is eligible for a

                      service under the Member’s benefits contract and the Member’s out-of-

                      pocket responsibility (i.e., (a) Member-identifying information (name,

                      Member ID, date of birth, address); (b) whether the Member has active

                      coverage/date ranges for eligibility; (c) coverage by service type and

                      benefits (e.g., office visit, outpatient, etc.); (d) Member deductible




                                                36
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 42 of 163




                information; and (e) the fact of whether pre-authorization, pre-certification

                or other pre-service administrative process is required);

                ii.     Pre-authorization requirements, which means offering clarity on

                what a Settlement Class Member must do to obtain pre-authorization for a

                particular service based on the Member’s benefit contract; and

                iii.    Claims status tracking, which means a tracker that will provide

                clarity on where a BlueCard Claim is in the adjudication process.

 Member benefits and eligibility verification (as set forth in Paragraph 14(a)(i)) will be

 implemented as of December 31, 2026, or one hundred and twenty (120) calendar days

 following the Effective Date, whichever is later. Pre-authorization requirements (as set

 forth in Paragraph 14(a)(ii)) will be implemented on December 31, 2027, or one hundred

 and twenty (120) calendar days following the Effective Date, whichever is later. Claims

 status tracking (as set forth in Paragraph 14(a)(iii)) will be implemented as of

 December 31, 2028, or one hundred and twenty (120) calendar days following the Effective

 Date, whichever is later;

        b.      patient data exchange capabilities that will enable bidirectional data

 exchange between Blue Plans and Settlement Class Members, and Blue Plans and

 Electronic Medical Record (“EMR”) vendors for Settlement Class Members that elect to

 participate. These capabilities will be designed to facilitate electronic patient information

 exchange through industry standard EMR interfaces and industry standard transactions. In

 addition, the capabilities will allow Blue Plans to rapidly supply Providers with

 comprehensive clinical data to the extent available (e.g., care supplied by other Providers,

 admission/discharge/transfer data, and lab data); and




                                          37
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 43 of 163




                 c.     the ability for the Blue System to implement and roll out future

       improvements to the BlueCard Program at a faster pace than on the Execution Date,

       including the ability to quickly update Settlement Class Members’ data and enact changes

       that lead to more efficient claims processing, as those needs arise and are identified in the

       future.

       15.       Real-Time Messaging System. The Blue System shall implement a real-time

inter-plan messaging service, which will enable Blue Plans to address Settlement Class Member

and Member issues in near real-time, including by supplying prompt responses to pre-service

transactions and rectifying claims issues and disputes.

       16.       BlueCard Executive. Each Settling Individual Blue Plan agrees to designate at

least one senior-level “BlueCard Executive” who will be accountable for issues regarding

BlueCard Claim payments issues in regards to Settlement Class Members. Settling Individual

Blue Plans that are licensed to use the Blue Marks in more than one state (“Multi-State Blue

Plans”) may elect to have more than one such executive, with each executive being responsible for

a specific subset of the Multi-State Blue Plan’s Service Area.

                 a.     The BlueCard Executive shall be an officer or hold another senior-level

       position, and each BlueCard Executive shall be empowered to make decisions on behalf of

       his or her own Blue Plan (or, in the case of a Multi-State Blue Plan, for a subset of that

       Blue Plan) on a BlueCard Claim issue that is escalated to him or her (e.g., pre- and post-

       authorizations, medical records requirements, medical and reimbursement policies, and

       claims submissions, processing, and payment issues raised by Settlement Class Members)

       that cannot be resolved through other means (e.g., dispute resolution, appeal). BlueCard

       Executives at different Settling Individual Blue Plans shall have the ability to interface with




                                                 38
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 44 of 163




 each other at the highest levels within each organization, to ensure that escalated issues are

 resolved promptly and efficiently.

        b.      A Settlement Class Member shall have the right to have its BlueCard Claim

 issue automatically escalated for decision to the BlueCard Executive at the Local/Host Blue

 Plan, or one of his or her direct reports, in the first instance (“Automatic Escalation”) where

 the BlueCard Claim issue concerns: (i) an open BlueCard Claim that (a) is aged forty-five

 (45) calendar days or more from the submission date and (b) totals $1 million

 ($1,000,000.00) or more in billed charges; (ii) an open BlueCard Claim that (a) is aged

 sixty (60) calendar days or more from the submission date and (b) totals $500 thousand

 ($500,000.00) or more in billed charges; or (iii) an open BlueCard Claim that (a) is aged

 ninety (90) calendar days or more from the submission date and (b) totals $300 thousand

 ($300,000.00) or more in billed charges. During the Monitoring Period, the Monitoring

 Committee may, by unanimous vote, amend the criteria for Automatic Escalation so that

 such criteria remain timely and reflect any learnings of the Automatic Escalation process

 during the Monitoring Period; thereafter, the National Executive Resolution Group, as

 established in Paragraph 17, shall be responsible for amending the criteria for Automatic

 Escalation so that the criteria remain timely and serve the purposes of this Paragraph 16,

 provided that the National Executive Resolution Group may not eliminate the Automatic

 Escalation right. Escalation to the BlueCard Executive does not replace, modify, or in any

 way abrogate any appeals process, contractually required meet-and-confer or other process

 or arbitration requirement(s) as set forth in a Settlement Class Member’s participation

 agreement or other contract with a Settling Individual Blue Plan, or as may be required by

 law. Notwithstanding a Settlement Class Member’s eligibility for Automatic Escalation




                                           39
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 45 of 163




       pursuant to this Paragraph 16(b), no Settlement Class Member shall be entitled to

       Automatic Escalation during any period such Provider is subject to a documented ongoing

       investigation for fraud, waste and/or abuse.

               c.      When eligible to contact the BlueCard Executive as set forth in

       Paragraph 16(b), Settlement Class Members may communicate with their Local/Host Blue

       Plan’s BlueCard Executive (rather than the BlueCard Executive at each individual

       Control/Home Blue Plan), and the Local/Host Blue Plan’s Executive will promptly respond

       to such outreaches.      The BlueCard Executive at the Local/Host Blue Plan may

       communicate with the BlueCard Executive at other Blue Plans in order to reach a resolution

       for the Settlement Class Member. Where that occurs, the Local/Host Blue Plan’s BlueCard

       Executive will be empowered to communicate that resolution to the Settlement Class

       Member and the Local/Host Blue Plan will honor the resolution it communicates. For the

       avoidance of doubt, no Blue Plan’s BlueCard Executive will be empowered to make

       decisions on behalf of any other Blue Plan or its BlueCard Executive or to bind any other

       Blue Plan.

       17.     National Executive Resolution Group.           BCBSA shall establish a “National

Executive Resolution Group” (the “Group”), so that the Blue System can continue to refine and

improve the BlueCard Program in the future based on new input from Providers over time. The

Group will operate at the BCBSA level and will be composed of executives from both BCBSA

and the Blue Plans. The purpose of this Group will be to identify trends and address opportunities

for improvement in the operation of the BlueCard Program, with a particular emphasis on solving

issues raised by large regional and national Providers that have footprints in multiple Service Areas

or where there are other systemic issues that are impacting Settlement Class Members across




                                                 40
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 46 of 163




multiple Service Areas. The Group will serve as a single, centralized location for coordination

across all Blue Plans where a Provider may have locations (or where a particular concern may

arise) so that there is a formalized setting, with regular touchpoints, for Blue Plans to discuss and

address ongoing BlueCard Program concerns. Any recommendations from the Group shall be

subject to regular BCBSA governance, and any approved solutions shall be rolled out to Providers

promptly through the cloud-based architecture described in Paragraph 14 or other appropriate

means. The Group will not possess the authority to resolve contracting or reimbursement issues

on behalf of any specific Blue Plan. The Group shall have a specified Provider Liaison Committee,

which will be composed of ten (10) Settlement Class Members selected by Settlement Class

Counsel after consultation with BCBSA. The Provider Liaison Committee will establish a

mechanism through which Settlement Class Members and associations or organizations of

Providers can communicate any such concerns or desired improvements to the committee, which

shall be permitted to raise and present such concerns to the Group twice a year, and shall receive

annual reports of the Group’s work and recommendations.

       18.     Third-Party Information. The Settling Individual Blue Plans agree to identify

third parties involved in benefit application decisions, including prior authorizations or claims

processes, as part of Member eligibility verification conducted by Settlement Class Members.

Specifically, where technically possible and where standards allow for such information

exchanges, the Settling Individual Blue Plans will inform Settlement Class Members, through

eligibility or prior authorization responses, the name of the entity responding to the Settlement

Class Member’s request, as well as the entity with ultimate responsibility for adjudicating the

claim. This Agreement will not replace third-party agreements that are already in place or apply

where the third party does not have the requisite capability or is otherwise not required to comply




                                                 41
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 47 of 163




based on the terms of its operative contract with a Settling Individual Blue Plan. Nothing in this

Paragraph 18 shall be read or interpreted to permit or authorize direct contact of such third parties

by Providers, where that contact is prohibited by contract or law.

       19.     Service Level Agreements. The Blue System shall implement performance SLAs

between each Blue Plan, on the one hand, and BCBSA on the other hand, as set forth below. These

SLAs will be in the form of performance commitments and standards with respect to BlueCard

Claims that BCBSA will require of each Blue Plan. These SLAs, which will be measured on

average, shall address the following topics:

               a.      Electronic Eligibility Inquiries. Blue Plans agree to respond to Providers’

       BlueCard Program-related 270/271 transactions within a maximum period of twenty (20)

       seconds of receipt for real-time transactions and the earlier of seventy-two (72) hours or

       7:00 a.m. Eastern Time the following business day for batch transactions, provided the

       batch transaction is received by 9:00 p.m. Eastern Time on a business day.

               b.      Electronic Claim Status Inquiries. Blue Plans agree to respond to Providers’

       BlueCard Program-related 276/277 transactions within a maximum period of twenty (20)

       seconds of receipt for real-time transactions and the earlier of seventy-two (72) hours or

       7:00 a.m. Eastern Time the following business day for batch transactions, provided the

       batch transaction is received by 9:00 p.m. Eastern Time on a business day.

               c.      SLA Performance Guarantee Program. Blue Plans will be held accountable

       for complying with the SLAs through the SLA Performance Guarantee Program that will

       contain the following:

                       i.       Financial penalties that will flow through BCBSA to affected

                       Settlement Class Members if SLAs are not met. Financial penalties will be




                                                 42
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 48 of 163




             based on compliance with SLAs on an aggregate basis by Blue Plan. A

             mechanism will be included in the SLA Performance Guarantee Program to

             prevent Providers from recovering twice for the same shortcoming.

             Furthermore, no Provider shall be allowed to collect an SLA financial

             penalty if the Provider is subject to a documented ongoing investigation for

             fraud, waste and/or abuse.

             ii.    Financial penalties for failure to comply with SLAs will escalate in

             severity as a Blue Plan falls further out of compliance with its SLA

             commitments.

             iii.   An efficient and timely process for Settlement Class Members and

             Blue Plans to address performance issues through the new BlueCard

             Executive and related infrastructure. Specifically, the BlueCard Executive

             at each Plan will be a resource for Settlement Class Members to ensure

             Plans are meeting their SLA commitments in the event there are repeated

             and sustained shortcomings.

             iv.    The first measurement period for the SLAs and the SLA

             Performance Guarantee Program will begin on the earlier of January 1 or

             July 1, whichever occurs first, after one hundred and twenty (120) calendar

             days following the Effective Date have elapsed, so long as the Monitoring

             Committee has approved the SLA Performance Guarantee Program as of

             that date as provided for in Paragraph 19(c)(v); otherwise, the first

             measurement period will be the first of either January 1 or July 1 that occurs

             after the Monitoring Committee approves the SLA Performance Guarantee




                                       43
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 49 of 163




                       Program as provided for in Paragraph 19(c)(v). Subsequent measurement

                       and financial penalty payout periods for the SLA Performance Guarantee

                       Program will occur at a regular cadence and at least annually.

                       v.     The SLA Performance Guarantee Program will be submitted to the

                       Monitoring Committee no later than ninety (90) calendar days after the

                       Effective Date. The Monitoring Committee’s review will be limited to

                       confirming that the SLA Performance Guarantee Program satisfies the

                       parameters set forth in this Paragraph 19(c). If any changes are made to the

                       SLA Performance Guarantee Program during the Monitoring Period, those

                       changes will likewise be submitted to the Monitoring Committee for review

                       and confirmation that they comport with the requirements of this

                       Paragraph 19(c).

       20.     Minimum Data Requirements. In response to Electronic Data Exchange (EDI)

eligibility and benefit inquiry (270) transaction requests calling for such information related to a

specific Blue Plan Member, the Settling Individual Blue Plans agree to provide on the

corresponding EDI eligibility and benefit response (271) transactions information, as of the

response date, concerning: (i) any applicable benefit limitations for that Member based on site of

service; (ii) any applicable information for that Member related to narrow networks or limited out-

of-state benefits; (iii) maximum out-of-pocket (“MOOP”) accumulators for that Member; and

(iv) the identity of the Control/Home Blue Plan. The Settling Individual Blue Plans will provide

this information in the specific Loop, Segment and Data Field(s) as dictated by governing industry

standards; the Settling Individual Blue Plans will include any additional information (i.e., those




                                                44
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 50 of 163




without a specific Loop, Segment and Data Field) in the “Notes/Free Text” Field on the eligibility

and benefit response (271) transaction.

       21.     Blue Plan Common Appeals Form. BCBSA agrees to develop a uniform Blue

Plan Common Appeals Form substantially in the form attached to this Agreement as Appendix D.

To the extent a Settling Individual Blue Plan requires a Provider to use a specific appeals form in

order to initiate a permitted Provider appeal over a BlueCard Claim, the Settling Individual Blue

Plan agrees to accept the Blue Plan Common Appeals Form as the initiation of such appeal by any

Settlement Class Member where allowed by applicable law. Nothing in this Agreement shall

prohibit a Settling Individual Blue Plan from requesting additional information not found in the

Blue Plan Common Appeals Form as part of the appeals process, or from using and accepting an

alternative appeals form in addition to the Blue Plan Common Appeals Form (e.g., in the event

Providers prefer to use an existing permitted form). BCBSA is expressly permitted to revise the

Blue Plan Common Appeals Form over time, where BCBSA has a business justification for doing

so. Any changes made to the Blue Plan Common Appeals Form during the Monitoring Period

will be submitted to the Monitoring Committee for review, comment and approval.

       22.     Minimum Level of Value-Based Care. The Blue System agrees that, by no later

than ninety (90) calendar days after the Effective Date, each Settling Individual Blue Plan shall

have a value-based care offering that qualifies as Category 3 or higher on the LAN APM

Framework. A Settling Individual Blue Plan satisfies this requirement if it makes at least one such

offering available to any Provider(s) in its Service Area; that offering need not be offered to all

Providers or in all lines of business, and a Settling Individual Blue Plan shall not be found in

noncompliance with this Paragraph 22 because no Provider chooses to contract for its offering. If

three or more years pass without any eligible Provider contracting for a Blue Plan’s Category 3




                                                45
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 51 of 163




offering, the Settling Individual Blue Plan shall no longer be obligated to offer that level of value-

based arrangement.

       23.     Best Practices for Value-Based Care. BCBSA agrees to promulgate defined

standards for value-based contracts (“Defined Standards”) covering Member attribution logic,

performance measurement and data analytics and reporting. These Defined Standards will be “best

practices” meant to guide each Blue Plan in advancing value-based care arrangements in its

individual market(s), to the extent each Local/Host Blue Plan and the individual Settlement Class

Members in its Service Area agree to pursue such arrangements, and will be transparent to

Settlement Class Members. Deviation from the Defined Standards is expressly permissible

(i) when a Provider itself demands something different through individual contract negotiation;

(ii) when the Local/Host Blue Plan deems deviation necessary to accommodate local dynamics,

including applicable state laws and the specific membership population that the Blue Plan and the

Provider both serve; or (iii) to promote continued innovation in the local market. The Defined

Standards will address:

               a.      Member Attribution Logic. Individual Blue Plans and Settlement Class

       Members will be free to adopt customized attribution logic for population health programs;

       however, whatever customized attribution logic the Settling Individual Blue Plan and the

       Settlement Class Member choose to adopt, the attribution logic will be the same for the

       Local/Host Blue Plan’s own Members and Members accessing care pursuant to the

       BlueCard Program that participate in the value-based arrangement (e.g., excepting

       Members of Administrative Services Only accounts that have not elected to participate in

       the Local/Host Blue Plan’s value-based offering, although the Control/Home Blue Plan

       will recommend participation by the account in its value-based offerings; provided,




                                                 46
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 52 of 163




 however, that Settling Individual Blue Plans are not obligated to recommend participation

 in the value-based offering where (i) the account has already expressed that it does not

 intend to participate in any such offerings; and/or (ii) the value-based offering is not

 consistent with the needs of the account, for example, because the offering includes (or

 lacks) features that the account has already made clear are unpalatable (or required) for its

 business. Any monitoring of this provision will be done without directly engaging or

 interfering with the accounts themselves). Such attribution logic may be customized based

 on Provider types; those types may include, but are not limited to:

                i.      Primary Care Physician (“PCP”) Providers such as the following

                Provider types: family practice, general practice, geriatrician, internal

                medicine,    nurse    practitioner,    pediatrician,   physician’s   assistant,

                preventative medicine, and women’s health.

                ii.     Accountable Care Organization (“ACO”) Providers that are

                inclusive of broad networks of physicians, inpatient and outpatient

                facilities, and ancillary Providers.

        b.      Performance Measurement.         The Defined Standards will offer “best

 practices” guidance on selecting and adopting performance measures focused on quality

 and utilization that are meaningful and sensible in each individual local market and within

 the context of each value-based arrangement that is agreed to with a specific Settlement

 Class Member. The recommended quality and utilization measures will vary based upon

 a range of parameters, including the types of Providers involved in the value-based

 program, population need and the specific value-based contract at issue. Ultimately, the

 Local/Host Blue Plan and Settlement Class Members will work together to adopt any




                                          47
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 53 of 163




 performance measures that are locally relevant and appropriate for the Provider, and

 Settlement Class Members will be allowed to negotiate with the Settling Individual Blue

 Plans regarding specific performance targets related to the population of patients that the

 Providers and the Local/Host Blue Plan both serve.

        c.      Data, Analytics and Reporting. The Defined Standards will also guide Blue

 Plans in tailoring data submissions to each Settlement Class Member within any mutually

 agreed value-based arrangement, in order to help ensure that these data submissions are

 sensible in the context of that Provider and the specific value-based offering with the

 Settling Individual Blue Plan, including any agreed-upon performance targets. This may

 include development of standards supporting the submission of claims data, to the fullest

 extent possible, where appropriate (e.g., based upon the specific value-based program that

 is agreed to by the Local/Host Blue Plan and the Settlement Class Member), and a

 recommended form of the data to be exchanged (e.g., that the data should be submitted in

 reports to Settlement Class Members who lack the capacity or capability to process raw

 data, but that other Settlement Class Members such as large hospital systems with

 appropriate software capabilities might best receive raw data in addition to a report).

 Where exchanged and when technically feasible, the Defined Standards will recommend

 that clinical data interoperability should be bi-directional so that the systems receive the

 clinical data that the Blue Plans obtain related to the attributed patients—including, for

 example, laboratory test results—that the Blue Plans and Providers may lawfully or

 otherwise permissibly share. The Defined Standards will further guide Blue Plans in

 submitting to Settlement Class Members participating in value-based arrangements all paid

 claims files for the patients attributed or assigned to them, including a recommendation




                                         48
    Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 54 of 163




       that such files be shared with Settlement Class Members (i) who are not part of an

       integrated insurer/payor system, and (ii) who have agreed to take on material downside risk

       through the value-based arrangement, where such sharing is consistent with regulatory and

       Member privacy concerns, including HIPAA’s Minimum Necessary Rule, and any

       information-sharing protections that may need to be established due to contractual or legal

       requirements in order to support the sharing of unaffiliated Providers’ sensitive financial

       information. The purpose of such data sharing shall be to create a comprehensive, timely,

       transparent and consistent view of the attributed patients, including Members of the

       Local/Host Blue Plan and Members accessing care pursuant to the BlueCard Program,

       while recognizing that some variation is not only necessary but often preferable (e.g.,

       because individual Providers themselves have different needs and capabilities).

       24.    Telehealth Relief. The Settling Defendants agree to streamline claims processing

where Blue Plan-contracted Settlement Class Members contract with individual physicians located

in a different Blue Plan’s Service Area to supply Virtual-Only Services to the Settlement Class

Member’s patients. In these situations, the Settling Defendants agree to allow claims for these

Virtual-Only Services to be submitted directly to the contracting Provider’s Local/Host Blue Plan

by the Blue Plan-contracted Provider, rather than submitting the claim to the Blue Plan where the

individual physician is located. Nothing in this Paragraph 24 shall require a Settling Individual

Blue Plan to pay for Virtual-Only Services that are not otherwise Covered Services.

       25.    Pre-Authorization Standards. BCBSA agrees to promulgate guidance to Blue

Plans to improve the prior authorization process. That guidance will be not less than what is set

out in the Consensus Statement on Improving the Prior Authorization Process that BCBSA agreed

to along with AHIP, the American Medical Association and the American Hospital Association,




                                               49
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 55 of 163




and will include recommendations for selective application of prior authorization, prior

authorization program review and volume adjustment, transparency in communication regarding

prior authorization, and automation to improve transparency and efficiency.

       26.     Affiliates and All Products Clauses. Each Settling Individual Blue Plan will not

rent Non-Blue-Branded Provider network(s) to another Blue Plan (or another Blue Plan’s

affiliate(s)) offering Non-Blue-Branded insurance, products or services in the renting Blue Plan’s

Service Area, where the network being rented is comprised primarily of Providers that are

members of the Non-Blue-Branded network by virtue of a clause in a Blue-Branded network

contract obligating the Provider to participate in the Settling Individual Blue Plan’s Non-Blue-

Branded offerings. Nothing in this Paragraph 26 will limit Settling Individual Blue Plans from

renting either (i) their Blue-Branded networks to the extent permitted by the License Agreements,

Membership Standards and related Blue System rules, (ii) their Non-Blue-Branded networks to

their own Blue-Branded or Non-Blue-Branded affiliates, or (iii) any of their networks in any other

way beyond the limitations in this Paragraph 26.

       27.     Implementation of Class Injunctive Relief. Upon execution of the Agreement,

Settling Defendants shall begin to take steps necessary to implement the injunctive relief set forth

in Paragraphs 14, 15, 18 and 20. The relief set forth in Paragraph 14 (other than Paragraph 14(a))

and in Paragraphs 15, 18 and 20 shall be implemented by the later of December 2026 or one

hundred and twenty (120) calendar days after the Effective Date.            The relief set forth in

Paragraph 14(a) shall be implemented as set forth in that Paragraph. Upon entry of a Preliminary

Approval Order, Settling Defendants shall begin to take steps necessary to implement the

injunctive relief set forth in Paragraphs 11–13, 16–17, 19, 21–22, 24 and 26. With the exception

of the relief set forth in Paragraph 19, Settling Defendants shall implement this relief no later than




                                                 50
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 56 of 163




ninety (90) calendar days after the Effective Date; the injunctive relief set forth in Paragraph 19

shall be implemented on the timeline and as described in Paragraphs 19(c)(iv)–(v). Upon entry of

the Final Judgment and Order of Dismissal, Settling Defendants shall begin to take steps necessary

to implement the relief set forth in Paragraphs 23 and 25. Settling Defendants shall implement

this relief no later than one hundred and twenty (120) calendar days after the Effective Date. These

deadlines may be extended only by vote of the Monitoring Committee or Court approval.

       28.     Duration of Class Injunctive Relief.            The injunctive relief set forth in

Paragraphs 11–12, 14–17 and 21–25 shall be deemed satisfied upon implementation, subject to

monitoring in accordance with Paragraph 29. The injunctive relief set forth in Paragraphs 13, 18–

20 and 26, and the mandatory Provider Liaison Committee in Paragraph 17 shall expire at the

conclusion of the Monitoring Period. Nothing in this Agreement shall prevent the Settling

Defendants from making additional changes or upgrades to their rules, programs and/or

information and technology systems as they deem appropriate, so long as such changes are not

expressly prohibited by this Agreement. To the extent any injunctive relief in Paragraphs 10–26

becomes obsolete, or is superseded or preempted by governing industry standards or federal, state

or local law, during the duration of the relief, such term(s) shall expire.

       29.     Monitoring, Compliance and Reporting. The Monitoring Committee shall be

formed for the duration of the Monitoring Period in accordance with Appendix C and shall have

the obligations only as expressly set forth in this Settlement Agreement and in Appendix C. All

Monitoring Committee communications shall be Confidential, unless otherwise ordered by the

Court. During the Monitoring Period, Settling Defendants shall advise Provider Co-Lead Counsel

and the Monitoring Committee of the fulfillment of any requirements set forth in

Paragraphs 11–26. During the Monitoring Period, the Monitoring Committee shall oversee any




                                                  51
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 57 of 163




disputes in accordance with the procedures set forth in Appendix C. Unless otherwise specified

in this Agreement, all decisions and actions to be taken by the Monitoring Committee shall be

taken upon majority vote. Any and all obligations and authority of the Monitoring Committee

shall cease at the conclusion of the Monitoring Period.

       30.     Monitoring Fees and Expenses. Fees and expenses actually and reasonably

incurred in connection with monitoring and compliance under Paragraph 29 shall be paid from the

Notice and Administration Fund; all such fees and expenses shall be subject to review by the

Monitoring Committee prior to payment. These include the actual and reasonable fees and

expenses of the Monitoring Committee (but not including fees for members appointed by Settling

Defendants), and actual and reasonable monitoring and compliance fees and expenses of Provider

Co-Lead Counsel in connection with the performance of monitoring and compliance activities set

forth in Paragraph 29 and Appendix C. No attorneys’ fees or attorney expenses for Settling

Defendants shall be paid from the Notice and Administration Fund. Any money remaining in the

Notice and Administration Fund at the later of the expiration of the Monitoring Period or the

completion of settlement administration will be distributed in accordance with Paragraph 39(b).

In the event the Notice and Administration Fund (including any Material Loss Contingency

Reserve) is depleted prior to the conclusion of the Monitoring Period, the Settling Defendants shall

have no obligation to replenish consistent with Paragraph 41.

D.     SETTLEMENT AMOUNT

       31.     Settlement Amount. Subject to the provisions hereof, and in full, complete and

final settlement of the Provider Actions as provided herein, Settling Defendants shall pay or cause

to be paid the Settlement Amount of $2.8 billion ($2,800,000,000.00). The Settlement Amount

shall be paid in U.S. dollars into the Escrow Account. In no event shall Settling Defendants be




                                                52
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 58 of 163




required to pay or cause to be paid any additional dollars to the Settlement Amount for any purpose

under this Agreement.

       32.      Payment Timing.       The Settlement Amount shall be paid in the following

installments.

                a.      Within thirty (30) calendar days of entry of the Preliminary Approval Order,

       Settling Defendants shall cause to be transferred into the Escrow Account the $100 million

       ($100,000,000.00) Notice and Administration Fund.

                b.      Within thirty (30) calendar days of the Court’s entry of the Final Judgment

       and Order of Dismissal, Settling Defendants shall cause the remaining portion of the

       Settlement Amount to be transferred into the Escrow Account.

                c.      All (i) Notice and Administration Costs, (ii) Fee and Expense Awards,

       (iii) Service Awards, (iv) Taxes and Tax Expenses, and (v) any other Court-approved costs

       of implementing the settlement shall be paid solely from the Escrow Account, as further

       specified in Paragraph 35. Amounts in the Escrow Account shall be paid and distributed

       only in accordance with the terms of this Agreement and the terms of a mutually agreed-

       upon escrow agreement entered into by the parties (“Escrow Agreement”), to be overridden

       only by Court order.

       33.      Failure to Fund. Without prejudice to Settlement Class Members’ right to seek

enforcement of this Agreement, if the Settlement Amount is not timely transferred to the Escrow

Account in accordance with the terms of Paragraph 32, Settlement Class Counsel may rescind this

Agreement if: (i) Settlement Class Counsel have notified Settling Defendants’ counsel in writing

of their intention to rescind this Agreement for insufficient payment; and (ii) the entire Settlement




                                                 53
    Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 59 of 163




Amount is not transferred to the Escrow Account within thirty (30) business days after Settlement

Class Counsel have provided such written notice.

       34.    Tax Benefits and Consequences.

              a.      Settling Defendants and Settlement Class Counsel do not warrant to

       Provider Class Representatives or Settlement Class Members any tax benefits or

       consequences arising from this Agreement or any of the payments made to Provider Class

       Representatives and Settlement Class Members pursuant to this Agreement. All federal,

       state, and local taxes owed by Provider Class Representatives and Settlement Class

       Members on any of the amounts paid pursuant to this Agreement are the responsibility of

       Provider Class Representatives and Settlement Class Members, and not the Releasees or

       Settlement Class Counsel.

              b.      Settling Defendants do not warrant to Settlement Class Counsel any tax

       benefits or consequences arising from this Agreement or any of the payments made to

       Settlement Class Counsel pursuant to this Agreement. All federal, state, and local taxes

       owed by Settlement Class Counsel on any of the amounts paid pursuant to this Agreement

       are the responsibility of Settlement Class Counsel, and not the Releasees.

              c.      Provider Class Representatives, Settlement Class Members, and Settlement

       Class Counsel acknowledge that Settling Defendants and the Section 468B Administrator

       will engage in reporting to the Internal Revenue Service and such other state and local

       taxing authorities as may be required by law. Provider Class Representatives, Settlement

       Class Members, and Settlement Class Counsel further acknowledge that the Section 468B

       Administrator and the Escrow Agent will comply with all withholding obligations as

       required under the applicable provisions of the Internal Revenue Code of 1986 as amended,




                                               54
    Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 60 of 163




       and such other state and local laws as may be applicable, and the regulations promulgated

       thereunder.

       35.    Escrow Account. The Escrow Account shall be selected by Provider Co-Lead

Counsel and Settling Defendants and will be established at the Bank with such Bank serving as

Escrow Agent subject to escrow instructions regarding investment types and reinvestment of

income and proceeds mutually acceptable to Provider Co-Lead Counsel and Settling Defendants.

Such Escrow Account is to be administered by the Escrow Agent under the Court’s continuing

supervision and control.

              a.      No monies shall be paid from the Escrow Account without the specific

       written authorization of Provider Co-Lead Counsel and a designated representative of the

       Settling Defendants, and such authorization shall not be unreasonably withheld. Counsel

       for the Parties agree to cooperate, in good faith, to negotiate and execute an appropriate

       and separate Confidential Escrow Agreement in conformance with this Agreement prior to

       the date on which any portion of the Settlement Amount is required to be paid pursuant to

       Paragraph 32 of this Agreement.

              b.      The Escrow Agent shall cause the funds deposited in the Escrow Account

       to be invested in short-term instruments backed by the full faith and credit of the U.S.

       Government or fully insured in writing by the U.S. Government, or money market funds

       rated Aaa and AAA, respectively by Moody’s Investor Services and Standard and Poor’s,

       invested substantially in such instruments, and shall reinvest any income from these

       instruments and the proceeds of these instruments as they mature in similar instruments at

       their then-current market rates. The Parties shall bear no risk related to the management

       and investment of the Settlement Fund or Escrow Account. Settling Defendants shall not




                                               55
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 61 of 163




 be required to deposit additional funds as a result of investment or other losses to the

 Settlement Fund or Escrow Account.

        c.      All funds held in the Escrow Account shall be deemed and considered to be

 in custodia legis of the Court and shall remain subject to the jurisdiction of the Court, until

 such time as such funds shall be distributed pursuant to the terms of this Agreement and/or

 order(s) of the Court.

        d.      Provider Class Representatives and Settling Defendants agree to treat the

 Escrow Account as being at all times a “qualified settlement fund” within the meaning of

 Treas. Reg. § 1.468B-1. In addition, the Section 468B Administrator and, as required, the

 Parties, shall timely make such elections and filings as necessary or advisable to carry out

 the provisions of this Paragraph 35, and the Section 468B Administrator shall, in any event,

 make any available “relation-back election” (within the meaning of Treas. Reg.

 § 1.468B-1(j)(2)) back to the earliest permitted date. Such elections shall be made in

 accordance with the procedures and requirements contained in the regulations promulgated

 under Internal Revenue Code Section 468B. It shall be the responsibility of the Section

 468B Administrator to timely and properly prepare and deliver the necessary

 documentation for signature by all necessary parties, and thereafter to cause the appropriate

 filing to occur. The Court shall have continuing jurisdiction over the Escrow Account,

 pursuant to Treas. Reg. § 1.468B-1(c)(1), and over the Section 468B Administrator. All

 provisions of this Agreement shall be interpreted in a manner that is consistent with the

 Escrow Account being a “qualified settlement fund” within the meaning of Treas. Reg.

 § 1.468B-1.




                                           56
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 62 of 163




        e.      The Section 468B Administrator shall timely and properly file all

 information and other Tax returns necessary or advisable with respect to the Escrow

 Account (including without limitation the returns described in Treas. Reg.

 § 1.468B-2(k)(1)). Such returns shall be consistent with Paragraph 35(d) and in all events

 shall reflect that all Taxes shall be paid out of the Escrow Account as provided in

 Paragraph 35(g) hereof.

        f.      Each Settling Defendant shall timely deliver to the Section 468B

 Administrator a “Section 1.468B-3 Statement” (as provided in Treas. Reg. § 1.468B-3(e))

 with respect to any transfers it makes to the Escrow Account.

        g.      The Escrow Account is intended to be a separate taxpaying entity for

 purposes of federal and state tax law. All Taxes and Tax Expenses arising from the

 operation and income of the Escrow Account shall be paid out of the Escrow Account.

        h.      Unless otherwise set forth in this Agreement, the Section 468B

 Administrator shall be solely responsible for directing the filing of all informational and

 other Tax returns necessary to report any income earned by the Escrow Account.

        i.      Settling Defendants make no representation to Settlement Class Counsel

 regarding the appropriate tax treatment of the Settlement Fund, income earned on the

 Settlement Fund, or any distribution taken from the Settlement Fund. Neither Settling

 Defendants nor any other Releasee nor their respective counsel shall have any liability for

 the Taxes or the Tax Expenses. Settling Defendants shall have no responsibility to make

 any filings relating to the Settlement Fund and will have no responsibility to pay tax on

 any income earned by the Settlement Fund or to pay any taxes on the Settlement Fund

 unless the settlement is not consummated and the Settlement Fund is returned to Settling




                                         57
    Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 63 of 163




       Defendants. Further, Taxes and Tax Expenses shall be treated as, and considered to be, a

       cost of administration of the Escrow Account and shall be timely paid or reimbursed out

       of the Escrow Account without prior order from the Court. The Escrow Agent shall

       reimburse Settling Defendants out of the Escrow Account for any Taxes and Tax Expenses

       to which Settling Defendants are subject.       The Escrow Agent shall be obligated

       (notwithstanding anything herein to the contrary) to withhold from distribution to any

       claimants authorized by the Court any funds necessary to pay such amounts including the

       establishment of adequate reserves for any Tax and Tax Expenses (as well as any amounts

       that may be required to be withheld under Treas. Reg. § 1.468B-2(l)(2)). Provider Class

       Representatives, Settlement Class Counsel, and Settling Defendants agree to cooperate

       with the Section 468B Administrator, the Escrow Agent, each other, and their attorneys

       and accountants to the extent reasonably necessary to carry out the provisions of

       Paragraphs 35(d)–(g).

       36.    Distribution of Net Settlement Fund to Authorized Claimants.             After this

Agreement becomes final on the Effective Date and the Court enters a Class Distribution Order,

the amounts in the Escrow Account consisting of the Net Settlement Fund shall be distributed to

Authorized Claimants in accordance with the Plan of Distribution, which shall include the

foundation for the requested allocation, to be submitted to the Court at the appropriate time by

Provider Co-Lead Counsel, subject to approval by the Court in the Class Distribution Order. The

Plan of Distribution will provide an opportunity to submit a claim for monetary payments by all

Settlement Class Members. In no event shall any Settling Defendant or any other Releasee have

any responsibility, financial obligation, or liability whatsoever with respect to the allocation,

investment, distribution, or administration of the Escrow Account, including, but not limited to,




                                               58
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 64 of 163




the costs and expenses of such distribution and administration, except as expressly otherwise

provided in Paragraphs 32–35, to be borne by the Notice and Administration Fund.

       37.     Attorneys’ Fees and Expenses and Service Awards. Settlement Class Counsel

shall be reimbursed and indemnified solely out of the Escrow Account for all attorneys’ fees,

expenses, and costs, in amounts not to exceed those provided by Court order. Provider Co-Lead

Counsel, on behalf of Settlement Class Counsel, shall file their Fee and Expense Application(s),

and provide Notice to Class Members, in accordance with Eleventh Circuit practice. All such

expenses as are approved by the Court shall be solely paid out of the Escrow Account. In the event

that the Effective Date does not occur, only actually and reasonably incurred Notice and

Administration Costs may be payable from the Escrow Account, and such amounts shall not be

refunded to Settling Defendants.

               a.     Provider Co-Lead Counsel, on behalf of Settlement Class Counsel, may

       submit a Fee and Expense Application to the Court for: (i) an award of attorneys’ fees, up

       to twenty-five percent (25%) of $2.8 billion (i.e., $700 million ($700,000,000.00)), plus

       (ii) reimbursement of expenses and costs reasonably and actually incurred in connection

       with prosecuting the Provider Actions.

               b.     If the portion of the Fee and Expense Award attributable to attorneys’ fees

       (but not expenses and costs) exceeds twenty-five percent (25%) of $2.8 billion, Settling

       Defendants may rescind the settlement.

               c.     A partial award of $75 million ($75,000,000.00) of the Fee and Expense

       Award (“Partial Award”) shall be paid from the Escrow Account to Settlement Class

       Counsel no later than forty-five (45) calendar days after the Court’s entry of the Final

       Judgment and Order of Dismissal. The Partial Award shall be distributed at the discretion




                                                59
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 65 of 163




 of Provider Co-Lead Counsel. The Partial Award shall be subject to Settlement Class

 Counsel’s provision of an irrevocable letter of credit from the Bank securing the amount

 of the Partial Award. Settlement Class Counsel shall be required to repay those amounts

 to the Escrow Account, plus accrued income at the same net rate as is earned by the Escrow

 Account, and subject to an appropriate undertaking, if and when, as a result of any appeal

 and further proceedings on remand, or successful collateral attack, and after the exhaustion

 of all appeals, the Fee and Expense Award is reduced or reversed below $75 million

 ($75,000,000.00), or return of the Escrow Account is required.

        d.      Settlement Class Counsel may also seek Service Awards for Provider Class

 Representatives as part of their Fee and Expense Application in accordance with Eleventh

 Circuit practice. Any Service Award(s) approved by the Court shall be payable from the

 Settlement Amount.

        e.      Neither Settling Defendants nor any other Releasee under this Agreement

 shall have any responsibility for, interest in, or liability whatsoever with respect to any

 payment to Settlement Class Counsel and/or Provider Class Representatives of any Fee

 and Expense Award or Service Award.

        f.      Notwithstanding any other provision of this Agreement to the contrary, the

 propriety of the Fee and Expense Application shall be considered by the Court separate

 and apart from its consideration of the fairness, reasonableness, and adequacy of the

 settlement, and any order or proceeding relating to the Fee and Expense Application, or

 any appeal of any order relating thereto or reversal or modification thereof, that does not

 have the effect of increasing Settling Defendants’ financial obligation under this

 Agreement, shall not operate to terminate or cancel this Settlement Agreement or the




                                         60
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 66 of 163




       settlement of the Provider Actions, or affect the finality or binding nature of any of the

       releases granted hereunder. Nothing in this Paragraph 37(f) affects Settling Defendants’

       rights under Paragraph 37(b).

               g.      Other than as set forth in this Paragraph 37, Settling Defendants and the

       other Releasees shall not be liable for any costs, fees, or expenses of any Provider Class

       Representatives or the Settlement Class, including without limitation attorneys’ fees and

       expenses, attorneys’ fees and expenses associated with the provision of Class Notice,

       attorneys’ fees and expenses incurred in administering the Escrow Account, attorneys’ fees

       and expenses of expert witnesses and consultants, and attorneys’ fees and expenses

       associated with discovery, motion practice, hearings before the Court, and appeals.

       38.     Distributions of the Settlement Fund. The Parties agree that the Escrow Account

shall be paid out as follows:

               a.      After entry of an order approving such distribution, the Settlement Claims

       Administrator, Settlement Notice Administrator, and Settlement Administrator shall be

       paid Notice and Administration Costs.

               b.      After the Effective Date, the Fee and Expense Award and any Service

       Award(s) shall be paid; provided, however, that any amounts in the Escrow Account

       necessary for Taxes and Tax Expenses shall remain in the Escrow Account.

               c.      After (i) the Effective Date, (ii) written certification by Settling Defendants

       and Provider Co-Lead Counsel that the Agreement is final pursuant to Paragraph 8 (which

       may occur before the conclusion of the Monitoring Period), and (iii) receipt of a Court

       order approving distribution of the Net Settlement Fund to Authorized Claimants, the Net

       Settlement Fund shall be distributed as ordered by the Court; provided, however, that any




                                                 61
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 67 of 163




 amounts in the Escrow Account necessary for Taxes and Tax Expenses shall remain in the

 Escrow Account.

 39.    Balance Remaining in Settlement Fund.

        a.      If there is a balance remaining in the Escrow Account (other than any Fee

 and Expense Award, the Notice and Administration Fund, any Service Award(s), and any

 income earned thereon) after (i) distribution of the Net Settlement Fund to Authorized

 Claimants in accordance with Paragraph 36 and (ii) the time for Authorized Claimants to

 take possession of their distributions, the Settlement Claims Administrator will, subject to

 Court approval, allocate the balance among Settlement Class Members in an equitable and

 economic fashion. If it is not economical to distribute to Settlement Class Members any

 such residual amounts, then any such amounts will be added to the Notice and

 Administration Fund unless otherwise ordered by the Court.

        b.      At the expiration of the Monitoring Period, any funds remaining in the

 Notice and Administration Fund, including any income accrued on the Notice and

 Administration Fund (collectively, the “Remainder”), will be distributed by the Monitoring

 Committee to an entity or entities chosen by Settling Defendants and Provider Co-Lead

 Counsel, subject to approval by the Monitoring Committee. In choosing the entity or

 entities, the intent shall be to identify organizations that enable Providers to promote access

 to high-quality healthcare. In no event shall any portion of the Remainder be paid to

 Settling Defendants or Settlement Class Counsel.

        c.      In no event shall any portion of the Settlement Fund be paid to Settling

 Defendants, except in the event of rescission in accordance with the terms of this

 Agreement.




                                           62
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 68 of 163




          40.   Amounts Paid Not a Penalty. It is understood and agreed that no consideration

or amount or sum paid, credited, offered, or expended by Settling Defendants in performance of

this Agreement constitutes a penalty, fine, punitive damages, or other form of assessment for any

alleged claim or offense. Each Settlement Class Member is enforcing its rights as a private party

and is not directly, indirectly, or derivatively enforcing any rules or exercising any regulatory

powers as part of a governmental function on behalf of itself or any government or governmental

entity.

          41.   No Replenishment. The Settling Defendants shall not be required to contribute

more than the Settlement Amount for any purpose whatsoever under this Agreement, including

without limitation Notice and Administration Costs, monitoring fees and expenses as set forth in

Paragraph 30, and/or the Material Loss Contingency Reserve.

E.        RELEASE, DISCHARGE, AND COVENANT NOT TO SUE

          42.   Released Claims and Covenant Not to Sue. In addition to the effect of any final

judgment entered in accordance with this Agreement, upon the Effective Date as set out in

Paragraph 8, and in consideration of the Injunctive Relief and payment of the Settlement Amount

into the Settlement Fund, and for other valuable consideration, the Releasors shall be deemed to

have, and by operation of the Final Judgment and Order of Dismissal shall have, fully, finally, and

forever released, relinquished, and discharged all Released Claims against any and all of the

Releasees. The Parties intend that the release in this Agreement be interpreted and enforced

broadly and to the fullest extent permitted by law. Each Releasor shall be deemed to have released

all Released Claims against the Releasees regardless of whether any such Releasor ever seeks or

obtains by any means, including without limitation through the Settlement Claim Process, any

distribution from Settlement Fund. Provider Class Representatives and Settling Defendants

acknowledge, and each and every Settlement Class Member shall be deemed by operation of the


                                                63
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 69 of 163




Final Judgment and Order of Dismissal to have acknowledged, that the foregoing waivers and

releases were separately bargained for and a key element of the settlement of which these releases

are part.

               a.      All Releasors also covenant not to sue any Releasee with respect to any

        Released Claim, and agree that all Releasors shall be permanently barred and enjoined from

        commencing, maintaining, prosecuting, causing, cooperating with, advising to be

        commenced or maintained, or encouraging any action, suit, proceeding or claim in any

        court, tribunal, administrative agency, regulatory body, arbitrator or other body in any

        jurisdiction against any Releasee based in whole or in part upon, arising out of, or in any

        way connected or related to any Released Claim.

               b.      Each Releasor may hereafter discover facts other than or different from

        those which he, she, or it knows or believes to be true with respect to the claims which are

        the subject matter of the provisions of this Paragraph 42. Nevertheless, each Releasor

        hereby expressly waives and fully, finally, and forever settles and releases, upon this

        Agreement becoming final, any known or unknown, suspected or unsuspected, contingent

        or non-contingent claim with respect to the subject matter of the provisions of this

        Paragraph 42, whether or not concealed or hidden, without regard to the subsequent

        discovery or existence of such different or additional facts.

        43.    California Civil Code. In addition to the provisions of Paragraph 42, Releasors

expressly waive and release, upon this Agreement becoming final, any and all provisions, rights,

and benefits conferred by § 1542 of the California Civil Code, which states:

               A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
               THAT THE CREDITOR OR RELEASING PARTY DOES NOT
               KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT
               THE TIME OF EXECUTING THE RELEASE, AND THAT, IF



                                                 64
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 70 of 163




               KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY
               AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR
               OR RELEASED PARTY;

or by any law of any state or territory of the U.S., or principle of common law, which is similar,

comparable, or equivalent to § 1542 of the California Civil Code.

       44.     All Claims Satisfied by Settlement Fund. Each Releasor shall look solely to the

Plan of Distribution and Net Settlement Fund as deposited in the Escrow Account for settlement

and satisfaction, as provided herein, of all Released Claims for any form of monetary

compensation or relief (including attorneys’ fees and costs). Except as provided by order of the

Court pursuant to this Agreement, no Class Member shall have any interest in the Escrow Account

or the Settlement Funds deposited therein, or any portion thereof.

       45.     Enforcement of Release. Notwithstanding any other provision of this Agreement,

nothing in this Agreement will prevent Releasees from pleading this Settlement Agreement as a

full and complete defense to any action, suit, or other proceeding that has been or may be instituted,

prosecuted, or attempted with respect to any of the Released Claims and may be filed, offered, and

received into evidence, and otherwise used for such defense.

F.     ADMINISTRATION OF SETTLEMENT

       46.     Claims and Release. Any Settlement Class Member who does not follow the

instructions of the Class Notice will not be entitled to any of the proceeds under the Plan of

Distribution and from the Net Settlement Fund, but will otherwise be bound by all of the terms of

this Agreement, including the terms of the Final Judgment and Order of Dismissal to be entered in

the Provider Actions and the releases provided for herein, and will be barred from bringing any

action or proceeding against the Releasees based in whole or in part upon, arising out of, or in any

way connected or related to the Released Claims.




                                                 65
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 71 of 163




       47.     Settlement Notice Administrator and Settlement Claims Administrator. The

Settlement Notice Administrator shall execute the Notice Plan upon entry of the Class Notice

Approval Order, and, after entry of the Class Distribution Order, the Settlement Claims

Administrator shall distribute the Net Settlement Fund in accordance with the Class Distribution

Order. Except for their obligation to fund the settlement or cause it to be funded as detailed in this

Agreement, Settling Defendants shall have no liability, obligation, or responsibility for the

administration of the settlement or disbursement of the Net Settlement Fund. Provider Co-Lead

Counsel shall have the right, but not the obligation, to advise the Settlement Claims Administrator

to waive what Provider Co-Lead Counsel reasonably deem to be formal or technical defects in any

proofs of claim submitted, including without limitation failure to submit a document by the

submission deadline, in the interests of achieving substantial justice.

       48.     Written Exclusion for Opt-Outs from the Settlement Class. Subject to Court

approval, Class Members shall have the right to exclude themselves from the Settlement Class

pursuant only to the procedure set forth in the Class Notice and approved by the Court. Any Class

Member seeking such exclusion must serve a written request for exclusion by the Opt-Out

Deadline. Any Class Member that serves such a request shall not be included in the definition of

Settlement Class Member and shall have no rights with respect to the Settlement Fund or any of

the Injunctive Relief set forth in this Settlement Agreement. Settling Defendants reserve their

legal rights and defenses, including, but not limited to, any defenses relating to whether any

excluded Class Member is a Class Member or has standing to bring a claim against any Settling

Defendant. Each Class Member that does not file a timely and appropriate written request for

exclusion in accordance with the procedures set forth in the Class Notice shall be bound by all of

the terms of this Agreement, including the releases defined in Paragraphs 42 and 43, and by all




                                                 66
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 72 of 163




proceedings, orders, and judgments in this action, even if any such person or entity has pending,

or subsequently initiates, litigation, arbitration, or any other claim, action, or proceeding against

any or all of the Releasees relating to any Released Claim.

        49.    Failure to Properly Exclude. Subject to Court approval, a request for exclusion

that does not comply with all of the provisions set forth in the applicable Class Notice will be

invalid, and the person(s) or entity(ies) serving such an invalid request shall be deemed a

Settlement Class Member of the Settlement Class and shall be bound by the Agreement upon entry

of the Final Judgment and Order of Dismissal.

        50.    Identification of Opt-Outs. Provider Co-Lead Counsel shall, within twenty (20)

business days of the Opt-Out Deadline, provide Settling Defendants with a list and copies of all

opt-out requests they received in the Provider Actions and shall file with the Court a list of all

persons and entities who timely and validly opted out of the settlement.

        51.    Settling Defendants’ Right to Rescind. Settling Defendants shall have the right

to rescind this Agreement under the terms of the In Camera Supplement, separate and apart from

the additional bases for rescission set forth below in Paragraph 53. If Settling Defendants do not

rescind this Agreement, there shall be no reduction of the Settlement Fund by reason of any Opt-

Outs.

G.      STAY OF PROCEEDINGS

        52.    Stay. Upon execution of this Agreement, the Parties agree to seek from the Court

a stay of any and all proceedings against Settling Defendants in the Provider Actions, other than

those incident to the settlement process, and agree to extensions of time with respect to any court

filings necessary to effectuate such stay(s).




                                                 67
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 73 of 163




H.     RESCISSION IF AGREEMENT IS NOT APPROVED OR FINAL JUDGMENT
       NOT ENTERED

       53.     Rescission. The Provider Class Representatives and Settling Defendants shall

each, in their sole discretion, have the option to rescind this Agreement in its entirety if any of the

following occurs:

               a.      The Court refuses to approve this Agreement or any part hereof, including

       if the Court does not certify the Settlement Class in accordance with the specific Settlement

       Class definitions set forth in this Agreement;

               b.      Such approval is modified or set aside on appeal;

               c.      The Court does not enter the Final Judgment and Order of Dismissal

       provided for in Paragraph 8; or

               d.      The Court enters the Final Judgment and Order of Dismissal and appellate

       review is sought, and on such review, such Final Judgment and Order of Dismissal is not

       affirmed in its entirety.

               e.      Written notice of the exercise of any such right to rescind shall be given to

       the Parties according to the terms of Paragraph 60 and to the Escrow Agent within thirty

       (30) business days following the occurrence of such an event. A modification or reversal

       on appeal of any Fee and Expense Award or any Service Award(s) awarded by the Court

       from the Settlement Fund shall not be deemed a modification of all or a part of the terms

       of this Agreement or such Final Judgment and Order of Dismissal, unless such

       modification or reversal has the effect of increasing Settling Defendants’ financial

       obligation under this Agreement.

       54.     Return of the Settlement Funds. In the event that this Agreement does not

become final as set forth in Paragraph 8, or this Agreement otherwise is rescinded or terminated,


                                                  68
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 74 of 163




then this Agreement shall be of no force or effect and any and all parts of the Settlement Fund

caused to be deposited in the Escrow Account (other than Notice and Administration Costs

reasonably and actually incurred up to the date of rescission or termination), along with any income

accrued thereon, shall be returned to the entities that paid such amounts into the Escrow Account.

Each entity will be paid in proportion to its respective contribution to the Settlement Fund. Such

payments will be made from the Escrow Account by the Escrow Agent within ten (10) calendar

days of rescission, termination, or a court’s final determination denying final approval of the

Agreement and/or certification of the Settlement Class, whichever occurs first. The Parties

expressly reserve all of their rights if this Agreement is rescinded or does not become final.

       55.     Resumption of Litigation. The Parties agree, subject to approval of the Court, that

in the event the Agreement is not approved by the Court, the Agreement does not become final

pursuant to Paragraph 8, or the Agreement is otherwise rescinded, litigation of the Provider

Actions against Settling Defendants will resume in a reasonable manner to be approved by the

Court upon application by the Parties. The Parties expressly reserve all of their rights if this

Agreement is rescinded or does not otherwise become final.

I.     MISCELLANEOUS

       56.     Confidentiality; Third-Party Communications.

               a.      All Parties and counsel agree that all orders entered during the course of the

       Provider Actions relating to the Confidentiality of information shall survive this

       Agreement. All Parties and counsel agree to maintain the Confidentiality of the In Camera

       Supplement at all times and agree to take such steps as may be necessary to accomplish

       this.

               b.      No Confidentiality obligation prevents Settling Defendants from asserting

       any release as a defense.


                                                 69
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 75 of 163




        c.       No Provider Class Representative, Settlement Class Counsel, or other agent

 for or representative of Provider Class Representatives or Class Members will make or

 cause to be made any public statement or comment regarding this settlement or Agreement

 until after the earlier of (i) the filing of the Preliminary Approval Motion or (ii) any public

 disclosures by Settling Defendants regarding this settlement or Agreement other than

 Settling Defendants’ communications with their employees, auditors, and regulatory

 bodies. Settling Defendants shall be entitled to make such disclosures to their employees,

 auditors, and regulatory bodies of the Agreement as they, in their sole discretion, determine

 are appropriate. The Parties will coordinate regarding any public statement or comment

 regarding this settlement or Agreement before the filing of the Preliminary Approval

 Motion. This provision does not apply to statements made in judicial filings necessary to

 obtain preliminary Court approval of the settlement or effectuate the Notice Plan approved

 by the Court.

        d.       Excluding the communications authorized by the Court-approved Notice

 Plan, during the Monitoring Period, all Parties and their counsel will mutually agree upon

 the content of all website postings and communications to public-facing third parties

 regarding any matter related to this Agreement or any of the allegations in the Consolidated

 Amended Provider Complaints or answers. The Parties shall use best efforts to give each

 other at least two (2) business days’ notice of any draft posting or communication. In the

 event such notice is not practicable, the Party shall contact the other Party’s designee as

 early as possible regarding the communication and shall rely upon previously agreed-upon

 materials in any event.       The foregoing does not apply to Settling Defendants’

 communications with their employees, auditors, or regulatory bodies. Quoting materials




                                           70
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 76 of 163




       in the public record is permissible and does not require agreement under this Paragraph 56.

       The Special Master appointed by the Court is the arbiter of what is contained in the public

       record.

                 e.     Nothing in this Paragraph 56 limits the communications Settling

       Defendants may have with third parties regarding the operations of their business under the

       terms of this Agreement.

       57.       Communications with Class Members. Settlement Class Counsel acknowledge

and agree that Settling Defendants have the right to communicate with Class Members for the

purpose of encouraging them to remain in the Settlement Class, as well as for other legitimate

business purposes, provided that, if any Class Member raises a question about the terms of the

Agreement, Settling Defendants shall, as a part of the communication, refer such Class Member

to the toll-free number or website established by the Settlement Notice Administrator and/or

Settlement Claims Administrator.

       58.       Representation.    All Settlement Class Counsel agree to recommend this

Agreement to all Class Members and to zealously support the settlement as fair, adequate and

reasonable to the Settlement Class. All Settlement Class Counsel further agree that they will not

file any objection to the settlement or take on any representation of any Opt-Out to the settlement

in the Provider’s capacity as an Opt-Out under any circumstances.

       59.       Binding Effect. Each and every covenant and agreement in this Agreement shall

be binding upon, and inure to the benefit of, the successors and assigns of all Provider Class

Representatives, Settling Defendants, Releasors, Settlement Class Members, and their counsel.

       60.       Notice. Any and all notices, requests, consents, directives, or communications by

any Party intended for any other Party related to this Agreement shall be in writing and shall,




                                                71
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 77 of 163




unless expressly provided otherwise herein, be given by email, to the following persons, and shall

be addressed as follows:




                                               72
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 78 of 163




TO THE PROVIDER CLASS              TO SETTLING DEFENDANTS:
REPRESENTATIVES and
SETTLEMENT CLASS:                  Karin A. DeMasi
                                   Lauren R. Kennedy
Edith M. Kallas                    CRAVATH, SWAINE & MOORE LLP
Joe R. Whatley, Jr.                kdemasi@cravath.com
W. Tucker Brown                    lkennedy@cravath.com
Patrick J. Sheehan
Henry C. Quillen                   Lead Counsel for the Blue Cross Blue Shield System; Blue
WHATLEY KALLAS, LLP                Cross Blue Shield Association; Blue Cross and Blue Shield
ekallas@whatleykallas.com          of Alabama; Blue Cross and Blue Shield of Arizona, Inc.;
jwhatley@whatleykallas.com         GuideWell Mutual Holding Corporation; Blue Cross and
tbrown@whatleykallas.com           Blue Shield of Florida, Inc.; Blue Cross and Blue Shield of
psheehan@whatleykallas.com         Kansas City; Blue Cross and Blue Shield of Massachusetts,
hquillen@whatleykallas.com         Inc.; Blue Cross and Blue Shield of North Carolina;
                                   BlueCross BlueShield of South Carolina; BlueCross
Counsel for the Settlement Class   BlueShield of Tennessee, Inc.; Blue Cross Blue Shield of
                                   Wyoming; California Physicians’ Service d/b/a Blue Shield
                                   of California; Capital Blue Cross; CareFirst, Inc.;
                                   CareFirst of Maryland, Inc.; Group Hospitalization and
                                   Medical Services, Inc.; CareFirst BlueChoice, Inc.; Hawaii
                                   Medical Service Association (Blue Cross and Blue Shield of
                                   Hawaii); Wellmark of South Dakota, Inc. (Wellmark Blue
                                   Cross and Blue Shield of South Dakota); Wellmark, Inc.
                                   (Wellmark Blue Cross and Blue Shield of Iowa); Triple-S
                                   Management Corporation; Triple-S Salud, Inc.


                                   Karin A. DeMasi
                                   Lauren R. Kennedy
                                   CRAVATH, SWAINE & MOORE LLP
                                   kdemasi@cravath.com
                                   lkennedy@cravath.com

                                   Jeffrey J. Zeiger, P.C.
                                   KIRKLAND & ELLIS LLP
                                   jzeiger@kirkland.com

                                   Health Care Service Corporation, an Illinois Mutual Legal
                                   Reserve Company, including its divisions Blue Cross and
                                   Blue Shield of Illinois, Blue Cross and Blue Shield of Texas,
                                   Blue Cross and Blue Shield of New Mexico, Blue Cross and
                                   Blue Shield of Oklahoma, and Blue Cross and Blue Shield
                                   of Montana; Caring for Montanans, Inc., f/k/a Blue Cross
                                   and Blue Shield of Montana, Inc.




                                             73
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 79 of 163




                         Craig A. Hoover
                         E. Desmond Hogan
                         HOGAN LOVELLS US LLP
                         craig.hoover@hoganlovells.com
                         desmond.hogan@hoganlovells.com

                         Elevance Health f/k/a Anthem, Inc., and all of its named
                         subsidiaries in this action; Louisiana Health Service &
                         Indemnity Company (Blue Cross and Blue Shield of
                         Louisiana); BCBSM, Inc. (Blue Cross and Blue Shield of
                         Minnesota); Horizon Healthcare Services, Inc. (Horizon
                         Blue Cross and Blue Shield of New Jersey); Blue Cross &
                         Blue Shield of Rhode Island; Cambia Health Solutions, Inc.;
                         Regence Blue Shield of Idaho; Regence Blue Cross Blue
                         Shield of Utah; Regence Blue Shield (of Washington);
                         Regence Blue Cross Blue Shield of Oregon


                         Jeffrey J. Zeiger, P.C.
                         KIRKLAND & ELLIS LLP
                         jzeiger@kirkland.com

                         Highmark Inc.


                         Sarah M. Gilbert
                         Honor R. Costello
                         CROWELL & MORING LLP
                         sgilbert@crowell.com
                         hcostello@crowell.com

                         Blue Cross of Idaho Health Service, Inc.; Gemstone
                         Holdings, Inc.; Blue Cross and Blue Shield of Kansas, Inc.;
                         GoodLife Partners, Inc.; Blue Cross and Blue Shield of
                         Nebraska; HealthyDakota Mutual Holdings; Blue Cross
                         Blue Shield of North Dakota


                         Alan D. Rutenberg
                         Diane R. Hazel
                         FOLEY & LARDNER LLP
                         arutenberg@foley.com
                         dhazel@foley.com

                         USAble Mutual Insurance Company, d/b/a Arkansas Blue
                         Cross and Blue Shield and as BlueAdvantage
                         Administrators of Arkansas



                                   74
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 80 of 163




                         Todd Stenerson
                         Rachel Mossman Zieminski
                         ALLEN OVERY SHEARMAN STERLING US LLP
                         todd.stenerson@aoshearman.com
                         rachel.zieminski@aoshearman.com

                         Sarah Cylkowski
                         BODMAN PLC
                         scylkowski@bodmanlaw.com

                         Blue Cross Blue Shield of Michigan Mutual Insurance
                         Company; Blue Cross and Blue Shield of Vermont


                         M. Patrick McDowell
                         Benje Bailey
                         James McCullough
                         BRUNINI, GRANTHAM, GROWER & HEWES, PLLC
                         pmcdowell@brunini.com
                         bbailey@brunini.com
                         jmccullough@brunini.com

                         Blue Cross & Blue Shield of Mississippi, A Mutual
                         Insurance Company


                         John G. Schmidt Jr.
                         Anna Mercado Clark
                         PHILLIPS LYTLE LLP
                         jschmidt@phillipslytle.com
                         aclark@phillipslytle.com

                         Excellus Health Plan, Inc., d/b/a Excellus BlueCross
                         BlueShield

                         John Briggs
                         AXINN, VELTROP & HARKRIDER, LLP
                         jbriggs@axinn.com

                         Independence Health Group, Inc.

                         Gwendolyn Payton
                         KILPATRICK TOWNSEND & STOCKTON LLP
                         gpayton@kilpatricktownsend.com

                         Premera Blue Cross, d/b/a Premera Blue Cross Blue Shield
                         of Alaska


                                  75
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 81 of 163




       61.     Integrated and Final Agreement.           This Agreement comprises the entire,

complete, and integrated statement of each and every term and provision agreed to by and among

the Parties, and is not subject to any condition except as explicitly provided herein. This

Agreement supersedes any prior agreements, representations, warranties, statements, and/or

understandings, whether written or oral, between or among the Parties regarding the subject matter

of the Provider Actions.      The Parties hereby disclaim reliance on any prior agreements,

representations, warranties, statements, and/or understandings, whether written or oral, in entering

into and performing in accordance with this Agreement. This Agreement may not be modified or

amended except in writing executed by all Provider Class Representatives and Settling Defendants,

and approved by the Court.

       62.     CAFA. Settling Defendants shall timely submit all materials required to be sent to

appropriate federal and state officials pursuant to the Class Action Fairness Act of 2005 (“CAFA”),

28 U.S.C. § 1715, and notify the Court that CAFA compliance has been accomplished.

       63.     Future Rules. Future BCBSA and Individual Blue Plan rules will comply with

this Agreement.

       64.     Headers. The headings used in this Agreement are intended for the convenience

of the reader only and shall not affect the meaning or interpretation of this Agreement.

       65.     No Party Is the Drafter. This Agreement was jointly negotiated, prepared, and

drafted by Settlement Class Counsel and counsel for Settling Defendants. This Agreement shall

be construed and interpreted to effectuate the intent of the Parties, which is to provide for a

complete resolution of the Released Claims with respect to the Releasors. None of the Parties

hereto shall be considered to be the drafter of this Agreement or any provision hereof for the




                                                76
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 82 of 163




purpose of any statute, case law, or rule of interpretation or construction that would or might cause

any provision to be construed against the drafter thereof.

       66.     Choice of Law. All terms of this Agreement shall be governed by and interpreted

according to the substantive laws of the State of New York without regard to its choice-of-law or

conflict-of-laws principles.

       67.     Consent to Jurisdiction. Settling Defendants and each Settlement Class Member

hereby irrevocably submit to the exclusive jurisdiction of the Court for any suit, action, proceeding,

or dispute arising out of or relating to this Agreement or the applicability of this Agreement to

resolve any disputes or controversies, including but not limited to disputes raised in accordance

with the procedures listed in Appendix C, and enforcement regarding Released Claims and

Paragraphs 42 and 43.

               a.       Settling Defendants and Class Members (including those who challenge

       their inclusion in the Settlement Class) also agree that, in the event of such dispute, they

       are and shall be subject to the jurisdiction of the Court and that the Court is a proper venue

       and convenient forum. Settling Defendants, Settlement Class Members, and Settlement

       Class Counsel shall jointly urge the Court to include the provisions of this Paragraph 67 in

       its Final Judgment and Order of Dismissal.

       68.     Non-Disparagement. All Parties and their counsel agree not to disparage, criticize

or denigrate opposing Parties (individually or collectively) to any person or entity (including but

not limited to any media outlet, television station or program, radio station or program, newspaper,

magazine, website, editor, reporter, journalist, photo journalist, interviewer, author, columnist,

blogger, mobile application (e.g., Facebook, Twitter, Instagram), writer, or current or former

employee or customer of any Settling Defendant) regarding any matter related to the Agreement




                                                 77
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 83 of 163




or any of the allegations, claims or defenses in the Consolidated Amended Provider Complaints,

answers, or other filings in the Provider Actions. Quoting materials currently in the public record

as of the Execution Date would not constitute a violation of this Paragraph 68. Nothing in this

Paragraph 68 shall limit a party’s ability to challenge conduct and/or provisions through the

Monitoring Committee or in a court of law.

       69.     Voluntary Settlement and Agreement; Advice of Counsel. Each Party agrees

and acknowledges that it has (i) thoroughly read and fully understands this Agreement and

(ii) received or had an opportunity to receive independent legal advice from attorneys of its own

choice with respect to the advisability of entering into this Agreement and the rights and

obligations created by this Agreement. Each Party agrees that this Agreement was negotiated in

good faith by the Parties under the supervision and with the assistance of court-appointed

mediators, and reflects a settlement that was reached voluntarily after consultation with competent

legal counsel. Each Party enters into this Agreement knowingly and voluntarily, in consideration

of the promises, obligations, and rights set forth herein.

       70.     Authorization to Enter Agreement.             The undersigned Settling Defendants’

counsel represent that they are fully authorized to enter into and to execute this Agreement on

behalf of the Settling Defendants on whose behalf they sign. The undersigned Settlement Class

Counsel represent that they are fully authorized to enter into and to execute this Agreement on

behalf of Settlement Class Counsel, Provider Class Representatives, and the Settlement Class,

subject to Court approval.

       71.     Non-Assignment. Provider Class Representatives represent and warrant that they

have not assigned, transferred, conveyed, released, or discharged, voluntarily or involuntarily, or




                                                 78
     Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 84 of 163




by operation of law, to any other person or entity any interest in the claims, actions, or disputes

which are the subject of this Agreement.

       72.     Inconsistency with the Settlement Agreement. In the event of a conflict between

the terms of this Settlement Agreement, the In Camera Supplement, any Escrow Agreement, or

any other document arising out of this Settlement Agreement, the terms of the Settlement

Agreement, including the Appendices hereto, shall control.

       73.     Privilege. Nothing in this Settlement Agreement is intended to waive any right to

assert that any information or material is protected from discovery by reason of any individual or

common-interest privilege, attorney-client privilege, work-product protection, or other privilege,

protection or immunity, or is intended to waive any right to contest any such claim of privilege,

protection or immunity.

       74.     Savings Clause. Nothing in this Agreement is intended to or does require any Party

to violate federal, state or local law. Nor does anything in this Agreement require any Party to

violate the terms of any existing contract that is in place as of the Effective Date of this Agreement,

including any agreement to waive prompt pay obligations in return for a pre-payment (and such

agreements remain permissible under this Settlement Agreement). To the extent any relief in this

Agreement requires new contractual terms with entities that are not parties to this Agreement, such

changes will be implemented on a prospective, new-contract basis.

       75.     Execution in Counterparts. This Agreement may be executed in counterparts.

Facsimile or .pdf signatures shall be considered valid signatures as of the date thereof, although

the original signature pages shall thereafter be appended to this Agreement and filed with the

Court. On the Execution Date, Provider Class Representatives, Settlement Class Members, and




                                                  79
    Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 85 of 163




Settling Defendants shall be bound by the terms of this Agreement, and this Agreement shall not

be rescinded except in accordance with Paragraphs 8(d), 33, 37(b), 51, or 53 of this Agreement.




                                               80
    Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 86 of 163




Dated: October 4, 2024
FOR THE SETTLING DEFENDANTS:




Karin A. DeMasi
Lauren R. Kennedy
CRAVATH, SWAINE & MOORE LLP
kdemasi@cravath.com
lkennedy@cravath.com

Lead Counsel for the Blue Cross Blue Shield System; Blue Cross Blue Shield Association; Blue
Cross and Blue Shield of Alabama; Blue Cross and Blue Shield of Arizona, Inc.; GuideWell
Mutual Holding Corporation; Blue Cross and Blue Shield of Florida, Inc.; Blue Cross and Blue
Shield of Kansas City; Blue Cross and Blue Shield of Massachusetts, Inc.; Blue Cross and Blue
Shield of North Carolina; BlueCross BlueShield of South Carolina; BlueCross BlueShield
of Tennessee, Inc.; Blue Cross Blue Shield of Wyoming; California Physicians’ Service d/b/a
Blue Shield of California; Capital Blue Cross; CareFirst, Inc.; CareFirst of Maryland, Inc.;
Group Hospitalization and Medical Services, Inc.; CareFirst BlueChoice, Inc.; Hawaii Medical
Service Association (Blue Cross and Blue Shield of Hawaii); Wellmark of South Dakota, Inc.
(Wellmark Blue Cross and Blue Shield of South Dakota); Wellmark, Inc. (Wellmark Blue Cross
and Blue Shield of Iowa); Triple-S Management Corporation; Triple-S Salud, Inc.




Karin A. DeMasi
Lauren R. Kennedy
CRAVATH, SWAINE & MOORE LLP
kdemasi@cravath.com
lkennedy@cravath.com

Helen E. Witt
Jeffrey J. Zeiger, P.C.
KIRKLAND & ELLIS LLP
hwitt@kirkland.com
jzeiger@kirkland.com

Health Care Service Corporation, an Illinois Mutual Legal Reserve Company, including its
divisions Blue Cross and Blue Shield of Illinois, Blue Cross and Blue Shield of Texas, Blue
Cross and Blue Shield of New Mexico, Blue Cross and Blue Shield of Oklahoma, and Blue
Cross and Blue Shield of Montana; Caring for Montanans, Inc., f/k/a Blue Cross and Blue Shield
of Montana, Inc.


                                             81
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 87 of 163
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 88 of 163
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 89 of 163
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 90 of 163
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 91 of 163
    Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 92 of 163




Alan D. Rutenberg
Diane R. Hazel
FOLEY & LARDNER LLP
arutenberg@foley.com
dhazel@foley.com

USAble Mutual Insurance Company, d/b/a Arkansas Blue Cross and Blue Shield and as
BlueAdvantage Administrators of Arkansas




Todd Stenerson
Rachel Mossman Zieminski
ALLEN OVERY SHEARMAN STERLING US LLP
todd.stenerson@aoshearman.com
rachel.zieminski@aoshearman.com

Sarah Cylkowski
BODMAN PLC
scylkowski@bodmanlaw.com

Blue Cross Blue Shield of Michigan Mutual Insurance Company; Blue Cross and Blue Shield of
Vermont




M. Patrick McDowell
Benje Bailey
James McCullough
BRUNINI, GRANTHAM, GROWER & HEWES, PLLC
pmcdowell@brunini.com
bbailey@brunini.com
jmccullough@brunini.com

Blue Cross & Blue Shield of Mississippi, A Mutual Insurance Company



                                            83
   Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 93 of 163




Alan D. Rutenberg
Diane R. Hazel
FOLEY & LARDNER LLP
arutenberg@foley.com
dhazel@foley.com

USAble Mutual Insurance Company, d/b/a Arkansas Blue Cross and Blue Shield and as
BIueAdvantage Administrators of Arkansas




Todd Stenerson
Rachel Mossman Zieminski
ALLEN OVERY SHEARMAN STERLING US LLP
todd.stenerson@aoshearman.com
rachel.zieminski@aoshearman.com

Sarah Cylkowski
BODMAN PLC
scylkowski@bodmanlaw.com

Blue Cross Blue Shield of Michigan Mutual Insurance Company; Blue Cross and Blue Shield of
Vermont




M. Patrick McDowell
Benje Bailey
James McCullough
BRUNINI, GRANTHAM,GROWER & HEWES,PLLC
pmcdowell@brunini.com
bbailey@brunini.com
jmccullough@brunini.com

Blue Cross & Blue Shield of Mississippi, A Mutual Insurance Company



                                            83
  Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 94 of 163




John G. Schmidt Jr.
Anna Mercado Clark
PHILLIPS LYTLE LLP
jscbmidt@phillipslytle.com
aclark@phillipslytle.com

Excellus Health Plan, Inc., d/b/a Excellus BlueCross BlueShield




John Briggs
AXINN, VELTROP & HARKRIDER, LLP
jbriggs@axinn.com

Independence Health Group, Inc.




Gwendolyn Payton
KILPATRICK TOWNSEND & STOCKTON LLP
gpayton@kilpatricktownsend.com

Premera Blue Cross, d/b/a Premera Blue Cross Blue Shield of Alaska




                                              84
   Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 95 of 163




John G. Schmidt Jr.
Anna Mercado Clark
PHILLIPS LYTLE LLP
jschmidt@phi 11 ipslytle.com
aclark@phi I Ii pslytle.com

Excellus Health Plan, Inc., d/b/a Excellus BlueCross BlueShield




�0.o�V)
AXTNN, VELTROP & HARKRIDER, LLP
jbriggs@axinn.com

Independence Health Group, Inc.




Gwendolyn Payton
KILPATRICK TOWNSEND & STOCKTON LLP
gpayton@kilpatricktownsend.com

Premera Blue Cross, d/b/a Premera Blue Cross Blue Shield of Alaska




                                              84
    Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 96 of 163




John G. Schmidt Jr.
Anna Mercado Clark
PHILLIPS LYTLE LLP
jschmidt@phillipslytle.com
aclark@phillipslytle.com

Excellus Health Plan, Inc., d/b/a Excellus BlueCross BlueShield




John Briggs
AXINN, VELTROP & HARKRIDER, LLP
jbriggs@axinn.com

Independence Health Group, Inc.




Gwendolyn Payton
KILPATRICK TOWNSEND & STOCKTON LLP
gpayton@kilpatricktownsend.com

Premera Blue Cross, d/b/a Premera Blue Cross Blue Shield of Alaska




                                              84
             Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 97 of 163



                                          l'lH)Vll>EHS' COUNSLI
                                          PROVIDERS*(OUNSEL   ,




         EC4UYckccaæ
         UvUGlk
         Edith
                . .kcil~
         Edith M.
               M. Kallas   Co-l.ead Cow1sel
                  Kailas - Co-lead
                                -   Counsel
         Whatky Kailas, LLP
                Kallas. LLP



                 ·-; ~f                 _, ., [ ,/7 _/
    ~ ~ -;.., -                     ~ -/ ~
    .•            ,•
                           .•                   .
                                                    ~
                                                        /
                                                        ·

        JJoe
          oe R. Whatley, Jr.
             R. Whatley.        Co-Lead COI
                          Jr. - Co-Lead
                                    —
                                            e
                                           1.
                                        C011ef
         Whatley Kallas. LLP
    . ' :\'hatlcy Kailas.  LLP
E




    4,~~£__, W. Tucker
             W.        Brown
                Tucker Brown
             Whatley Kallas, LLP
             Whatley Kailas, LLP




         1
             /fat~
             Patrick J.
             Patrick     Sheehan
                     J. ·S-heehah
             Whatlcy Kallas,
             Whatley            LLP
                       Kallas, LLP




         Henry C.
         Henry    Quillen
               C. Quillen
         Whatley Kallas,
         Whatley         LLP
                 Kailas, LLP
   Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 98 of 163




Counsel
Wood Law Firm, LLC




Aaron S. Podhurst - Plaintiffs' Steering
Committee
Peter Prieto
Podhurst Orseck P.A.




Dennis Pantazis - Plaintiffs' Steering
Committee
Brian Clark
Wiggins Childs Pantazis Fisher Goldfarb,
LLC




U.W. Clemon -Plaintiffs Steering Committee
U.W. Clemon, LLC




Barry A. Ragsdale - Plaintiffs ' Liaison
Counsel
Dominick Feld Hyde, PC
  Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 99 of 163




E. Kirk Wood, Jr. -Local Facilitating
Counsel
Wood Law Firm, LLC




Aaron S. Podhurst - Plaintiffs' Steering
Committee
Peter Prieto
Podhurst Orseck P.A.




Dennis Pantazis - Plaintiffs' Steering
Committee
Brian Clark
Wiggins Childs Pantazis Fisher Goldfarb,
LLC




U.W. Clemon -Plaintiffs Steering Committee
U.W. Clemon, LLC




Barry A. Ragsdale - Plaintiffs' Liaison
Counsel
Dominick Feld Hyde, PC
  Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 100 of 163




E. Kirk Wood. Jr. - Local Facilitating
Counsel
Wood Law Firm, LLC




Aaron S. Podhurst - Plaintiffs 'Steering
Committee
Peter Prieto
Podhurst Orseck P.A.




Dennis Pantazis - Plaintiffs ' Stee ing
Committee
Brian Clark
Wiggins Childs Pantazis Fisher Goldfarb.
LLC




U. W. Clemon - Plaintiffs Steering Committee
U. W. Clemon, LLC




Barry A. Ragsdale - Plaintiffs · Liaison
Counsel
Dominick Feld Hyde. PC
 Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 101 of 163




E. Kirk Wood, Jr. - Local Facilitating
Counsel
Wood Law Firm, LLC




Aaron S. Podhurst - Plaintiffs' Steering
Committee
Peter Prieto
Podhurst Orseck P.A.




Dennis Pantazis - Plaintiffs' Steering
Committee
Brian Clark
Wiggins Childs Pantazis Fisher Goldfarb,
LLC




uw.ie~ijfs Steering Committee
U.W. Clemon, LLC




Barry A. Ragsdale - Plaintiffs' Liaison
Counsel
Dominick Feld Hyde, PC
  Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 102 of 163




E. Kirk Wood, Jr. -Local Facilitating
Counsel
Wood Law Firm, LLC




Aaron S. Podhurst - Plaintiffs' Steering
Committee
Peter Prieto
Podhurst Orseck P.A.




Dennis Pantazis - Plaintiffs' Steering
Committee
Brian Clark
Wiggins Childs Pantazis Fisher Goldfarb,
LLC




U.W. Clemon -Plaint[ffs Steering Committee
U. W. Clemon, LLC




Barry A. Rags lale
Counsel
Dominick Feld Hyde, PC
  Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 103 of 163




Dennis C. Reich
Reich & Binstock, LLP




J. Mark White
Augusta S. Dowd
Linda Flippo
White Arnold & Dowd, P.C.




Nicholas B. Roth
Julia Smeds Roth
Eyster Key Tubb Roth Middleton & Adams,
LLP




Van Bunch
Bonnet Fairboum Friedman & Balint, P.C.




David A. Balto
The Law Offices of David A. Balto




Robert J. Axelrod
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 104 of 163




Dennis C. Reich
Reich & Binstock, LLP




 . Ma      ite
Augusta S. Dowd
Linda Flippo
White Arnold & Dowd, P.C.




Nicholas B. Roth
Julia Smeds Roth
Eyster Key Tubb Roth Middleton & Adams,
LLP




Van Bunch
Bonnet Fairboum Friedman & Balint, P.C.




David A. Balto
The Law Offices of David A. Balto




Robert J. Axelrod
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 105 of 163




Dennis C. Reich
Reich & Binstock, LLP




J. Mark White
Augusta S. Dowd
Linda Flippo
White Arnold & Dowd, P.C.


��{fi_.,.;lft.,
�h .. �
Nic1olas B. Roth
                ,g'2J1
Julia Srneds Roth
Eyster Key Tubb Roth Middleton & Adams,
LLP




Van Bunch
Bonnet Fairbourn Friedman & Balint, P.C.




David A. Balto
The Law Offices of David A. Balto




Robert J. Axelrod
   Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 106 of 163




Dennis C. Reich
Reich & Binstock, LLP




J. Mark White
Augusta S. Dowd
Linda Flippo
White Arnold & Dowd, P.C.




Nicholas B. Roth
Julia Smeds Roth
Eyster Key Tubb Roth Middleton & Adams,
LLP




Van Bunch
Bonnett Fairbourn Friedman & Balint, P.C.




David A. Balto
The Law Offices of David A. Balto




Robert J. Axelrod
  Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 107 of 163




                     p




 J. Mark White
 Augusta S. Dowd
 Linda Flippo
 White Arnold & Dowd, P.C.




 Nicholas B. Roth
 Julia Smeds Roth
 Eyster Key Tubb Roth Middleton & Adams,
 LLP




Van Bunch
Bonnet Fairbourn Friedman & Balint, P.C.




David A. Balto
The Law Offices of David A. Balto




Robert J. Axelrod
   Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 108 of 163




Dennis C. Reich
Reich & Binstock, LLP




J. Mark White
Augusta S. Dowd
Linda Flippo
White Arnold & Dowd, P.C.




Nicholas B. Roth
Julia Smeds Roth
Eyster Key Tubb Roth Middleton & Adams,
LLP




Van Bunch
Bonnet Fairbourn Friedman & Balint, P.C.




David A. Balto
The Law Offices of David A. Balto




f/JJ ££)_
Robert J. Axelr6d
                 7      1
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 109 of 163




W. Daniel Miles, III
Beasley Allen Crow Methvin Portis & Miles,
P.C.




Richard S. Frankowski
The Frankowski Firm, LLC




Michael C. Dodge
Glast Phillips & Murray, P.C.




John C. Davis
Law Office of John C. Davis




Michael E. Gurley, Jr.
  Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 110 of 163




Joey K. James
Bunch & James




W. Daniel Miles, III
Beasley Allen Crow Methvin Portis & Miles,
P.C.




Richard S. Frankowski
The Frankowski Firm, LLC




Michael C. Dodge
Glast Phillips & Murray, P.C.




John C. Davis
Law Office of John C. Davis




Michael E. Gurley, Jr.
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 111 of 163




Joey K.
Joey    James
     K. James
Bunch &
Bunch  & James
         James




W. Daniel Miles,
W. Daniel Miles, 111
                 III
Beasley Allen Crow Methvin
Beasley Allen Crow           Portis & Miles,
                     Methvin Portis & Miles,
P.C.
P.C.




RilooJS li.umdud4i ~~
Richard S.
Richard    Frankowski
        S. Frankowski

The             Firm, LLC
    Frankowski Firm,
The Frankowski        LLC




Michael C. Dodge
Michael C.   Dodge
Glast Phillips
Glast          & Murray,
      Phillips & Murray, P.C.
                         P.C.




John C. Davis
John C. Davis
Law  Office of John
Law Office of       C. Davis
               John C. Davis




Michael    Gurley, Jr.
        E. Gurley,
Michael E.         Jr.
 Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 112 of 163




Joey K. James
Bunch & James




W. Daniel Miles, III
Beasley Allen Crow Methvin Portis & Miles,
P.C.




Richard S. Frankowski
The Frankowski Firm, LLC




 ~C..l>~
Michael C. Dodge
Glast Phillips & Murray, P.C.




John C. Davis
Law Office of John C. Davis




Michael E. Gurley, Jr.
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 113 of 163




 Joey K. James
 Bunch & James




 W. Daniel Miles, Ill
 Beasley Allen Crow Methvin Portis & Miles,
 P.C.




 Richard S. Frankowski
 The Frankowski Firm, LLC




 Michael C. Dodge
 Glast Phillips & Murray, P.C.




           is
 Law O ice of John C. Davis




 Michael E. Gurley, Jr.
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 114 of 163




Joey K. James
Bunch & James




W. Daniel Mi les, III
Beasley Allen Crow Methvin Portis & Miles,
P.C.




Richard S. Frankowski
The Frankowski Firm, LLC




Michael C. Dodge
Glast Phillips & Murray, P.C.




John C. Davis
Law Office of John C. Davis




  /A:JJJ0~
Michael E. Gurley, Jr.
  Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 115 of 163




Lynn W. Jinks, III
Christina D. Crow
Jinks Crow & Dickson, P.C.




Stephen M. Hansen
Law Office of Stephen M. Hansen




Myron C. Penn
Penn & Seaborn, LLC




Harley S. Tropin
Kozyak, Tropin & Throckm01ion, P.A.




J. Preston Strom, Jr.
Strom Firm, LLC
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 116 of 163




MarkK. Gray
Gray & White, PLLC




Christina D. Crow
Jinks Crow & Dickson, P.C.




Stephen M. Hansen
Law Office of Stephen M. Hansen




Myron C. Penn
Penn & Seaborn, LLC




Harley S. Tropin
Kozyak, Tropin & Throckmorton, P.A.




J. Preston Strom, Jr.
Strom Firm, LLC
   Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 117 of 163




Mark K. Gray
Gray & White, PLLC




Lynn W. Jinks, III
Christina D. Crow
Jinks Crow & Dickson, P.C.



                             09/12/2024
Stephen M. Hansen
Law Office of Stephen M. Hansen




Myron C. Penn
Penn & Seaborn, LLC




Harley S. Tropin
Javier A. Lopez
Kozyak Tropin & Throckmorton, P.A.




J. Preston Strom, Jr.
Strom Firm, LLC
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 118 of 163




 MarkK. Gray
 Gray & White, PLLC




 Lym1 W. Jinks, III
 Christina D. Crow
 Jinks Crow & Dickson, P.C.




 Stephen M. Hansen
 Law Office of Stephen M. Hansen




�C::::-�
�
 Penn & Seaborn, LLC




 Harley S. Tropin
 Kozyak, Tropin & Throckmorton, P.A.




 J. Preston Strom, Jr.
 Strom Finn, LLC
   Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 119 of 163




Mark K. Gray
Gray & White, PLLC




Lynn W. Jinks, III
Christina D. Crow
Jinks Crow & Dickson, P.C.




Stephen M. Hansen
Law Office of Stephen M. Hansen




Myron C. Penn
Penn & Seaborn, LLC




Harley S. Tropin
Kozyak, Tropin & Throckmorton, P.A.




J. Preston Strom, Jr.
Strom Firm, LLC
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 120 of 163



         MarkK. Gray
         Gray & White, PLLC




         Lynn W. Jinks, III
         Christina D. Crow
         Jinks Crow & Dickson, P.C.




         Stephen M. Hansen
         Law Office of Stephen M. Hansen




         Myron C. Penn
         P nn & S aborn LLC




         Harley S. Tropin
         Kozyak Tropin & Throckmorton, P.A.




         J. Preston Strom, Jr.
         Strom Firm, LLC
 Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 121 of 163




 C-, t0--
C. Wes Pittman
                 £:itc~

Thomas V. Bender
Dirk L. Hubbard
Hom Aylward & Bandy, LLC




Robert B. Roden
David Shelby
Don Freeman
Shelby Roden, LLC




Gregory S. Cusimano
Cusimano, Roberts & Mills, LLC




Gary E. Mason
MasonLLP




Brian E. Wojtalewicz
Wojtalewicz Law Firm, Ltd.
 Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 122 of 163




C. Wes Pittman




~~
Thomas V. Bender
Dirk L. Hubbard
Horn Aylward & Bandy, LLC




Robert B. Roden
David Shelby
Don Freeman
Shelby Roden, LLC




Gregory S. Cusimano
Cusimano, Roberts & Mills, LLC




Gary E. Mason
Mason LLP




Brian E. Wojtalewicz
Wojtalewicz Law Firm, Ltd.
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 123 of 163




C. Wes Pittman




Thomas V. Bender
Dirk L. Hubbard
Horn Aylward & Bandy, LLC




Robert B. Roden
David Shelby
Don Freeman
Shelby Roden, LLC




Gregory S. Cusimano
Cusimano, Roberts & Mill s, LLC




Gary E. Mason
Mason LLP




Brian E. Woj talew icz
Wojtalewicz Law firm. Ltd.
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 124 of 163




C. Wes Pittman




Thomas V. Bender
Dirk L. Hubbard
Horn Aylward & Bandy, LLC




 Robert 8. Roden
 David Shelby
 Don Freeman
 Shelby Roden, LLC




 Gary E. Mason
 Mason LLP




 Brian E. Wojtalewicz
 Wojtalewicz Law Firm, Ltd.
  Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 125 of 163




C. Wes Pittman




Thomas V. Bender
Dirk L. Hubbard
Horn Aylward & Bandy, LLC




Robert B. Roden
David Shelby
Don Freeman
Shelby Roden, LLC




Gregory S. Cusimano
Cusimano, Roberts & Mills, LLC




Gary E. Mason
Mason LLP




Brian E. Wojtalewicz
Wojtalewicz Law Firm, Ltd.
  Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 126 of 163




C. Wes Pittman




Thomas V. Bender
Dirk L. Hubbard
Horn Aylward & Bandy, LLC




Robert B. Roden
David Shelby
Don Freeman
Shelby Roden, LLC




Gregory S. Cusimano
Cusimano, Roberts & Mills, LLC




Gary E. Mason
Mason LLP




                 . 2,
Brian E. Wojtalewicz
Wojtalewicz Law Firm, Ltd.
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 127 of 163




Mic�
Bailey Glasser LLP




Charles Clinton Hunter
Hayes Hunter PC




Archie C. Lamb, Jr.




Lance Michael Sears
Sears & Associates, P.C.




Paul Lundberg
Lundberg Law, PLC




Jessica Dillon
Dillon & Findley, P.C.
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 128 of 163




Michael L. Murphy
Bailey Glasser LLP




Charles Clinton Hunte
Hayes Hunter PC




Archie C. Lamb, Jr.




Lance Michael Sears
Sears & Associates, P.C.




Paul Lundberg
Lundberg Law, PLC




Jessica Dillon
Dillon & Findley, P.C.
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 129 of 163




Michael L. Murphy
Bailey Glasser LLP




Charles Clinton Hunter
Hayes Hunter PC




Lance Michael Sears
Sears & Associates, P.C.




Paul Lundberg
Lundberg Law, PLC




Jessica Dillon
Dillon & Findley, P.C.
   Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 130 of 163




Michael L. Murphy
Bailey Glasser LLP




Charles Clinton Hunter
Hayes Hunter PC




Archie C. Lamb, Jr.




Lance Michael Sears
Sears & Associates, P.C.




Paul Lundberg
Lundberg Law, PLC




Jessica Dillon
Dillon & Findley, P.C.
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 131 of 163




Michael L. Murphy
Bailey Glasser LLP




Charles Clinton Hunter
Hayes Hunter PC




Archie C. Lamb, Jr.




Lance Michael Sears
Sears & Associates, P.C.




Paul Lundberg
Lundberg Law, PLC




Jessica Dillon
Dillon & Findley, P.C.
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 132 of 163




Michael L. Murphy
Bailey Glasser LLP




Charles Clinton Hunter
Hayes Hunter PC




Archie C. Lamb, Jr.




Lance Michael Sears
Sears & Associates, P.C.




Paul Lundberg
Lundberg Law, PLC




  ssica Dillon
 illon & Findley, P.C.
   Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 133 of 163




&,                 ,4_1V\ ,/),vol ?s:7
Sirno11S 8:.. .'\ss(\ci:1tcs I.a\\. P.\.
                                           .


i\llvsu11 l)irksen
  I lciurrn111 I "m I· inn, P.L.L.C.
 Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 134 of 163




Gwen Simons
Simons & Associates Law, P.A.




~
A1lonDirksen
Heidman Law Firm, P.L.L.C.
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 135 of 163
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 136 of 163
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 137 of 163
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 138 of 163
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 139 of 163
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 140 of 163
   Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 141 of 163




Joseph D. Ackerson, Ph.D.




Janine Nesin, P.T., D.P.T., O.C.S.




Roman Nation, M.D.




Neuromonitoring Services of America, Inc.
Name:
Title:
   Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 142 of 163




Joseph D. Ackerson, Ph.D.




Janine Nesin, P.T., D.P.T., O.C.S.




Roman Nation, M.D.




Neuromonitoring Services of America, Inc.
Name:
Title:
   Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 143 of 163




Confluent Health, LLC
Name: Kristi Henderson
Title: CEO




ProRehab, Inc.
Name: Kristi Henderson
Title: CEO




Texas Physical Therapy Specialists, Inc.
Name:Kristi Henderson
Title: CEO




BreakThrough Physical Therapy, Inc.
Name:Kristi Henderson
Title: CEO




Breakthrough Cary PT, LLC as successor
to Dunn Physical Therapy, Inc.
Name:Kristi Henderson
Title: CEO
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 144 of 163
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 145 of 163
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 146 of 163
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 147 of 163
   Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 148 of 163




Judith Kanzic, D.C.




Brian Roadhouse, D.C.




Nishi Ambasht, as Personal Representative
and Trustee for Saket K. Ambasht, M.D.
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 149 of 163
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 150 of 163
  Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 151 of 163




Snowden Olwan Psychological Services
Name: James V Snowden, PhD
Title: Psychologist




Matthew Caldwell, M.D.




Mishanta Reyes, D.O.
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 152 of 163
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 153 of 163
    Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 154 of 163




                           Appendix A: List of Primary Licensees

                          Legal Name                          Principal Licensed State(s)
Aware Integrated, Inc.                                        MN
Blue Cross and Blue Shield of Alabama                         AL
Blue Cross and Blue Shield of Kansas City                     MO
Blue Cross and Blue Shield of Kansas, Inc.                    KS
Blue Cross and Blue Shield of Massachusetts, Inc.             MA
Blue Cross Blue Shield of Michigan Mutual Insurance Company   MI, VT
Blue Cross & Blue Shield of Mississippi, A Mutual Insurance
                                                              MS
Company
Blue Cross and Blue Shield of North Carolina                  NC
Blue Cross & Blue Shield of Rhode Island                      RI
Blue Cross and Blue Shield of South Carolina                  SC
BlueCross BlueShield of Tennessee, Inc.                       TN
Blue Cross and Blue Shield of Wyoming                         WY
California Physician’s Service                                CA
Cambia Health Solutions, Inc.                                 ID, OR, UT, WA
Capital Blue Cross                                            PA
CareFirst, Inc.                                               DC, MD, VA
                                                              CA, CO, CT, GA, IN, KY,
Elevance Health Inc.                                          ME, MO, NV, NH, NY, OH,
                                                              VA, WI
Gemstone Holdings, Inc.                                       ID
GoodLife Partners, Inc.                                       NE
GuideWell Mutual Holding Corporation                          FL, PR
Hawaii Medical Service Association                            HI
Health Care Service Corporation, a Mutual Legal Reserve
                                                              IL, MT, NM, OK, TX
Company
HealthyDakota Mutual Holdings                                 ND
Highmark Inc.                                                 DE, PA, WV, NY



                                               A-1
    Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 155 of 163




                            Legal Name               Principal Licensed State(s)
Horizon Healthcare Services, Inc.                    NJ
Independence Health Group, Inc.                      PA
Lifetime Healthcare, Inc.                            NY
Louisiana Health Service & Indemnity Co.             LA
PREMERA                                              AK, WA
Prosano, Inc.                                        AZ
USAble Mutual Insurance Company                      AR
Wellmark, Inc.                                       IA, SD




                                           A-2
      Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 156 of 163




                               Appendix B: List of Provider Actions

                           Name                                    Court           Case No.
                                                               USDC S.D. Tex.    4:16-cv-01146
Am. Surgical Assistants v. Blue Cross & Blue Shield of Ala.
                                                               USDC N.D. Ala.    2:16-cv-00775

Anesthesia Assocs. of Ann Arbor PLLC v. Blue Cross Blue        USDC E.D. Mich.   2:20-cv-12916
Shield of Mich.                                                USDC N.D. Ala.    2:23-cv-00461
Caldwell v. Blue Cross & Blue Shield of Ala.                   USDC N.D. Ala.    2:19-cv-00565
                                                               USDC S.D. Tex.    4:13-cv-00234
Chiropractic Plus, P.C. v. Blue Cross & Blue Shield of Ala.
                                                               USDC N.D. Ala.    2:13-cv-00303
Conway v. Blue Cross & Blue Shield of Ala.                     USDC N.D. Ala.    2:12-cv-02532
                                                                USDC D. Ariz.    2:15-cv-01349
Conway v. Blue Cross & Blue Shield of Ala.
                                                               USDC N.D. Ala.    2:15-cv-01345
                                                                USDC D. Kan.     5:15-cv-04905
Conway v. Blue Cross & Blue Shield of Ala.
                                                               USDC N.D. Ala.    2:15-cv-01346
                                                                USDC D.N.D.      3:15-cv-00109
Conway v. Blue Cross & Blue Shield of Ala.
                                                               USDC N.D. Ala.    2:15-cv-02295
                                                                USDC D.P.R.      3:15-cv-02002
Conway v. Blue Cross & Blue Shield of Ala.
                                                               USDC N.D. Ala.    2:15-cv-01475
                                                                USDC D. Wyo.     2:15-cv-00140
Conway v. Blue Cross & Blue Shield of Ala.
                                                               USDC N.D. Ala.    2:15-cv-01550
                                                                USDC E.D. Pa.    2:15-cv-03963
Conway v. Blue Cross & Blue Shield of Ala.
                                                               USDC N.D. Ala.    2:15-cv-01349
                                                               USDC S.D. Miss.   3:15-cv-00519
Conway v. Blue Cross & Blue Shield of Ala.
                                                               USDC N.D. Ala.    2:15-cv-01347
                                                               USDC S.D.N.Y.     1:15-cv-05539
Conway v. Blue Cross & Blue Shield of Ala.
                                                               USDC N.D. Ala.    2:15-cv-01348

Hosp. Serv. Dist. 1 of Parish of E. Baton Rouge, La. v. Blue   USDC M.D. La.     3:15-cv-00523
Cross & Blue Shield of Ala.                                    USDC N.D. Ala.    2:15-cv-01476



                                                 B-1
      Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 157 of 163




                          Name                                    Court          Case No.
Houston Home Dialysis, LP v. Blue Cross & Blue Shield of      USDC S.D. Tex.   4:19-cv-03791
Ala.                                                          USDC N.D. Ala.   2:19-cv-01765
Melson v. Blue Cross & Blue Shield of Ala.                    USDC N.D. Ala.   3:13-cv-00625

Quality Dialysis One, L.L.C. v. Blue Cross & Blue Shield of   USDC S.D. Tex.   4:15-cv-03491
Ala.                                                          USDC N.D. Ala.   2:15-cv-02296
Reyes v. Blue Cross & Blue Shield of Ala.                     USDC N.D. Ala.   2:21-cv-01235

Richmond SA Servs., Inc. v. Blue Cross & Blue Shield of       USDC S.D. Tex.   4:16-cv-01140
Ala.                                                          USDC N.D. Ala.   2:16-cv-00774

The Surgical Ctr. for Excellence, LLLP v. Blue Cross &        USDC N.D. Fla.   5:12-cv-00388
Blue Shield of Ala.                                           USDC N.D. Ala.   2:13-cv-00001




                                                B-2
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 158 of 163




Appendix C: Monitoring Committee, Compliance, and Dispute Resolution Rules

  1.     Monitoring Committee.

         a.       The Monitoring Committee shall be formed within fifteen (15) business

  days of the Effective Date and shall be comprised of (i) two members appointed

  collectively by Settling Defendants to represent the Blue System (“Defendant MC

  Members”); (ii) two members appointed by Provider Co-Lead Counsel to represent the

  Settlement Class (“Provider MC Members”); and (iii) one member appointed by the Court.

  The appointment of the initial members of the Monitoring Committee shall be approved

  by the Court through a proposed order to be submitted by the Parties.

         b.       Any Party may challenge an opposing Party’s proposed Monitoring

  Committee member(s) for good cause. Such disputes will be resolved by the Court.

         c.       Settling Defendants and Provider Co-Lead Counsel may replace their

  respective appointed Monitoring Committee member(s) at any time for good cause. A new

  proposed Monitoring Committee member may be challenged by an opposing Party for

  good cause, and such disputes will be resolved by the Court.

         d.       If a Monitoring Committee member’s employment or employment role

  changes, any opposing Party may challenge the person’s continued membership on the

  Monitoring Committee.

         e.       The Monitoring Committee shall meet virtually at least once a quarter.

         f.       Any person that receives any information or materials related to the

  Monitoring Committee or its activities will keep such information and materials

  Confidential.




                                          C-1
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 159 of 163




         g.       The Monitoring Committee and/or any Monitoring Committee member

  may be held liable only for willful misconduct or gross negligence and for no other reason.

  2.     Dispute Resolution.

         a.       This Paragraph 2 of Appendix C describes the full scope of the Monitoring

  Committee’s authority to consider and decide disputes between Settlement Class Members

  and Settling Defendants. Notwithstanding anything else in this Paragraph 2 of Appendix C

  or in the Settlement Agreement, the Monitoring Committee is not empowered to, and shall

  not, consider or decide disputes with any person or entity relating to the scope or

  applicability of the releases set forth in Paragraphs 42 and 43 of the Settlement Agreement.

  All disputes relating to the releases shall be heard only by the Court, as set forth in

  Paragraph 67.

         b.       During the Monitoring Period, a Settlement Class Member who believes

  that BCBSA or a Settling Individual Blue Plan has violated the Settlement Agreement may

  submit a written notice of the alleged violation (“Provider Grievance”) to Provider MC

  Members. The Provider Grievance shall describe in sufficient detail the alleged violation

  of the Settlement Agreement and the Settling Defendant(s) that the Settlement Class

  Member believes to be responsible, and shall attach any documents, declarations, or other

  material the Settlement Class Member believes is relevant to the alleged violation. Upon

  receiving a Provider Grievance, the Provider MC Members shall evaluate, and if

  appropriate investigate to the extent they deem reasonable, the circumstances alleged

  therein.

         c.       If, following a reasonable investigation, Provider MC Members determine

  that an allegation set forth in a Provider Grievance is not meritorious, is de minimis, is not




                                           C-2
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 160 of 163




  eligible for dispute resolution as set forth below, or is not within the scope of the Settlement

  Agreement, they will designate the allegation dismissed (“Dismissed Grievance”) and

  communicate that result to the Settlement Class Member that submitted the Provider

  Grievance.    The Provider MC Members shall maintain a record of all Dismissed

  Grievances and shall provide a summary of such Dismissed Grievances in an annual report

  to the Monitoring Committee.

          d.      If, following a reasonable investigation, Provider MC Members conclude

  either through their own investigation or diligence, or through their investigation of one or

  more Provider Grievances, that facts exist sufficient to establish a good faith basis that

  Settling Defendants are no longer in compliance with Paragraphs 11–17, 19 or 21–26 of

  the Settlement Agreement (“Lack of Compliance Violation”), or that a Settling Individual

  Blue Plan has engaged in pervasive and repeated conduct sufficient to establish a violation

  of the requirements of Paragraphs 13, 14(a), 16 or 18, 20–21 of the Settlement Agreement

  (“Systematic Violation”), then the Provider MC Members may commence the dispute

  resolution process.

          e.      To commence the dispute resolution process for a Lack of Compliance

  Violation or a Systematic Violation, the Provider MC Members shall provide a written

  notice of the violation (“Violation Notice”) to the full Monitoring Committee. The

  Violation Notice shall include (i) all facts supporting the basis for a Lack of Compliance

  Violation or a Systematic Violation set forth in sufficient detail to allow Defendant MC

  Members and any necessary Settling Defendant(s) to investigate the circumstances; (ii) all

  supporting documentation, including any applicable Provider Grievance(s) with

  accompanying documents, declarations or other supporting materials as described in




                                            C-3
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 161 of 163




  Paragraph 2(b) of Appendix C; and (iii) a detailed description of any action taken by the

  Provider MC Members with respect to such Provider Grievance(s), including the details of

  any investigation that led to the good faith basis to conclude a violation may exist.

         f.      Within ten (10) business days of receiving all materials set forth in

  Paragraph 2(e) of Appendix C, the Defendant MC Members shall provide a written plan of

  action to Provider MC Members, setting forth the steps that Defendant MC Members will

  take to investigate the alleged Lack of Compliance Violation or Systematic Violation

  (“Action Plan”). Within twenty (20) business days of transmitting the Action Plan to

  Provider MC Members, the Defendant MC Members shall provide a further written

  response (the “Final Response”) to the Monitoring Committee that (i) describes the results

  of the investigation undertaken pursuant to the Action Plan and Defendant MC Members’

  conclusions with respect to the Violation Notice; and (ii) where applicable, sets forth the

  plan to redress any Lack of Compliance Violation or Systematic Violation identified

  thereby. The timelines set forth in this paragraph may be extended by mutual agreement

  of the Provider MC Members and the Defendant MC Members.

         g.      The aforementioned process set forth in Paragraphs 2(c)–(f) of Appendix C

  of transmitting Violation Notice(s), Action Plan(s) and Final Response(s) between the

  Provider MC Members and the Defendant MC Members is the “Dispute Resolution

  Process.” The Dispute Resolution Process, along with any materials or information

  exchanged in connection with the Dispute Resolution Process, shall be kept Confidential.

         h.      If the Provider MC Members are satisfied with the resolution to a Violation

  Notice set forth in the Action Plan(s) and Final Response(s), no further steps shall be

  necessary in connection with the Violation Notice.




                                          C-4
Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 162 of 163




         i.      If there is any dispute remaining after the completion of the Dispute

  Resolution Process (“Violation Dispute”), such dispute shall be set forth in writing by the

  Provider MC Members and submitted to the full Monitoring Committee for resolution

  within thirty (30) business days, along with full and complete copies of the relevant

  Provider Grievance(s), Violation Notice(s), Action Plan(s) and Final Response(s) and any

  other relevant communications or documentation. Within thirty (30) business days of

  receiving the submission, the Monitoring Committee will address any Violation Dispute

  and determine what if any additional actions should be taken to address and/or resolve the

  Violation Dispute.

         j.      If both Provider MC Members determine that a dispute is urgent and that it

  requires resolution more quickly than the schedule contained in this Paragraph 2 of

  Appendix C, they may propose a shorter schedule for resolution.           The Monitoring

  Committee will decide whether to adopt the shorter schedule.

         k.      The Monitoring Committee’s actions with respect to a Violation Dispute

  are final and non-appealable, except that (i) any Settling Defendant may submit to the

  Court for final determination any Monitoring Committee action that the Settling Defendant

  believes imposes obligations above and beyond, or different from, those required by the

  Settlement Agreement; and (ii) any Provider MC Member may, upon vote of a majority of

  the Monitoring Committee, submit to the Court for resolution any claim that a Settling

  Defendant has failed to comply with requirements imposed by the Monitoring Committee.




                                         C-5
           Case 2:13-cv-20000-RDP Document 3192-2 Filed 10/14/24 Page 163 of 163
                                             Appendix D: Provider BlueCard Claim Appeal Form
                                                                                         *Denotes required field
*Today’s Date (MM/DD/YY):
                                       PROVIDER INFORMATION
*Provider Name                                           *Contact Name


*NPI                                                     *Contact Phone Number


Contact Email                                            Contact Fax Number


*Contact Address


                                   MEMBER/CLAIM INFORMATION
*Member Name                                             *Claim Number


*Member ID (including prefix)                            *Denial Code(s)


*Date(s) of Service (MM/DD/YY)


                                            TYPE OF APPEAL*
  (CHECK ONE OF THE FOLLOWING REASONS FOR DENIAL OR CLAIMED UNDERPAYMENT, AND ATTACH
     ALL SUPPORTING DOCUMENTATION, INCLUDING ANY NECESSARY MEMBER AUTHORIZATION)

    Contract Term(s): Original claim was not paid or processed in accordance with contract terms.
    Coordination of Benefits: Original claim denied or closed pending receipt of additional information from
    another insurer or other reason related to COB.
    Corrected Claim: Previously processed claim was denied for a defect and/or error and requires a
    correction. Please specify the correction to be made:__________________________________________
    Duplicate Claim: Original claim denied as duplicate to a previously finalized claim.
    Timely Filing: Original claim denied for untimely filing (and proof of timely filing is attached).
    Precertification/notification or Prior-Authorization: Original claim denied or Provider received
    reduced payment for failure to notify or pre-authorize services or exceeding authorized limits (and proof of
    valid notification/authorization is attached).
    Medical Necessity: Original claim denied as a result of medical necessity/utilization review decision.
    Referral Denial: Original claim denied as invalid or missing a required referral.
    Request for Additional Information: Original claim denied due to missing or incomplete information
    (and missing information or identification of such information in previously-submitted records is attached).
    Other Type of Denial/Claimed Underpayment:


Brief Explanation:


                                   FOR PROVIDER USE ONLY
                  INCOMPLETE OR DISALLOWED SUBMISSIONS WILL BE RETURNED
   NOTHING IN THIS FORM CREATES A RIGHT TO APPEAL WHERE NONE EXISTS UNDER AN APPLICABLE
                                     AGREEMENT OR LAW
